Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                San Francisco Ship Repair, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA BAE Systems San Francisco Ship Repair, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Foot of 20th Street                                             201 Harris Ave
                                  San Francisco, CA 94107                                         Bellingham, WA 98225
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Francisco                                                   Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       none


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 18-41350-BDL                 Doc 1        Filed 04/17/18           Ent. 04/17/18 16:20:19                 Pg. 1 of 111
Debtor    San Francisco Ship Repair, Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3366

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                 Parent
     attach a separate list                       Debtor     Puglia Engineering Inc.                                         Relationship            Company
                                                             Western District of
                                                  District   Washington                    When       4/14/18                Case number, if known   18-41324



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                 Case 18-41350-BDL                      Doc 1      Filed 04/17/18              Ent. 04/17/18 16:20:19                   Pg. 2 of 111
Debtor   San Francisco Ship Repair, Inc.                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 18-41350-BDL                    Doc 1      Filed 04/17/18             Ent. 04/17/18 16:20:19                  Pg. 3 of 111
Debtor    San Francisco Ship Repair, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 17, 2018
                                                  MM / DD / YYYY


                             X   /s/ Neil Turney                                                          Neil Turney
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Steven J Reilly WSBA                                                  Date April 17, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven J Reilly WSBA #44306
                                 Printed name

                                 The Tracy Law Group PLLC
                                 Firm name

                                 720 Olive Way #1000
                                 Seattle, WA 98101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-624-9894                  Email address


                                 #44306 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 18-41350-BDL                Doc 1        Filed 04/17/18             Ent. 04/17/18 16:20:19                 Pg. 4 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 17, 2018                          X /s/ Neil Turney
                                                                       Signature of individual signing on behalf of debtor

                                                                       Neil Turney
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy




              Case 18-41350-BDL                          Doc 1          Filed 04/17/18            Ent. 04/17/18 16:20:19        Pg. 5 of 111
 Fill in this information to identify the case:
 Debtor name San Francisco Ship Repair, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ACTION CLEANING                                                                                                                                                          $85,776.00
 CORP
 1668 NEWTON AVE
 SAN DIEGO, CA
 92113
 ALLIED UNIVERSAL                                                                                                                                                         $79,232.91
 SECURITY SERV
 161 WASHINGTON
 STREET
 SUITE 600
 CONSHOHOCKEN,
 PA 19428
 AMNAV MARITIME                                                                                                                                                           $95,450.00
 CORPORATION
 201 BURMA ROAD
 OAKLAND, CA
 94607
 BAE Systems Ship                                                                                                                                                       $769,000.00
 Repair Inc.
 Attn: Ian T. Graham
 1101 Wilson Blvd.,
 Suite 2000
 Arlington, VA 22209
 Clyde & Co.                                                                                                                                                            $803,418.00
 RE: Princess Cruise
 Lines
 101 Second Street
 24th Floor
 San Francisco, CA
 94105
 CUSTOM SHIP                                                                                                                                                            $121,348.00
 INTERIORS, INC
 PO BOX 882
 SOLOMONS, MD
 20688




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 18-41350-BDL                         Doc 1      Filed 04/17/18              Ent. 04/17/18 16:20:19                        Pg. 6 of 111
 Debtor    San Francisco Ship Repair, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FAIRBANKS MORSE                                                                                                                                                        $237,655.79
 ENGINE
 7824 COLLECTION
 CENTER DR
 CHICAGO, IL 60693
 FASSMER                                                                                                                                                                $140,273.65
 SERVICES
 AMERICA, LLC
 3650 NW 15TH ST
 LAUDERHILL, FL
 33311
 IMECO, INC                                                                                                                                                             $205,700.50
 1401 CARPENTER
 AVE
 IRON MOUNTAIN, MI
 49801
 MAN DIESEL                                                                                                                                                             $372,473.78
 1600A
 BRITTMOORE RD
 Houston, TX 77043
 MOTOR-SERVICES                                                                                                                                                         $379,087.43
 HUGO STAMP
 3190 SW 4TH AVE
 FT LAUDERDALE,
 FL 33315
 PORT OF SAN                                                                                                                                                            $742,887.40
 FRANCISCO
 PO BOX 7862
 SAN FRANCISCO,
 CA 94120-7862
 Princess Cruise                                                                                                                                                        $803,418.00
 Lines, Ltd
 24305 Town Center
 Drive
 Santa Clarita, CA
 91355
 SAFWAY                                                                                                                                                                 $103,896.41
 SERVICES, LLC
 1660 GILBRETH RD
 BURLINGAME, CA
 94010
 SAN FRANCISCO                                                                                                                                                          $254,249.41
 WATER POWER
 SEWE
 ATTN: CSB, RETAIL
 ELECTRIC
 525 GOLDEN GATE
 AVE, 3RD FLOOR
 SAN FRANCISCO,
 CA 94102




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 18-41350-BDL                         Doc 1      Filed 04/17/18              Ent. 04/17/18 16:20:19                        Pg. 7 of 111
 Debtor    San Francisco Ship Repair, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SF Public Utilities                                                                                                                                                    $244,456.06
 Commissio
 #60DRG60D-01
 1390 Market Street,
 7th Floor
 SAN FRANCISCO,
 CA 94102-5408
 UNITED RENTALS                                                                                                                                                         $130,090.48
 123 LOOMIS ST
 SAN FRANCISCO,
 CA 94124
 UNITED WESTERN                                                                                                                                                           $80,636.00
 SUPPLY
 5245 E MARGINAL
 WAY
 SEATTLE, WA 98134
 WALASHEK                                                                                                                                                                 $64,025.00
 INDUSTRIAL AND
 MARINE
 6410 S 143RD ST
 TUKWILA, WA
 98168
 WARTSILA                                                                                                                                                               $410,101.73
 DEFENSE, INC
 3617 KOPPENS
 WAY
 CHESAPEAKE, VA
 23323




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 18-41350-BDL                         Doc 1      Filed 04/17/18              Ent. 04/17/18 16:20:19                        Pg. 8 of 111
 Fill in this information to identify the case:

 Debtor name            San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        8,031,829.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $           8,031,829.53




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy



                Case 18-41350-BDL                                    Doc 1              Filed 04/17/18                         Ent. 04/17/18 16:20:19                              Pg. 9 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18      Ent. 04/17/18 16:20:19     Pg. 10 of 111
 Debtor         San Francisco Ship Repair, Inc.                                               Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            When the debtor ceased operations in May,
            2017, there was equipment and tools located
            at the leased property at the Port of San
            Francisco. All assets were left at the site. The
            debtor does not have knowledge of what
            remains at the site or what claims the Port of
            San Francisco may assert with respect to the
            equipement.                                                                Unknown                                           Unknown




 51.        Total of Part 8.                                                                                                              $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18      Ent. 04/17/18 16:20:19          Pg. 11 of 111
 Debtor         San Francisco Ship Repair, Inc.                                              Case number (If known)
                Name


        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Unused NOLs                                                                        Tax year 2017                          Unknown



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Potential avoidance action against Debtor's Parent
            Company, Puglia Engineering Inc.                                                                                          Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                            $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18      Ent. 04/17/18 16:20:19       Pg. 12 of 111
 Debtor          San Francisco Ship Repair, Inc.                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy



              Case 18-41350-BDL                             Doc 1            Filed 04/17/18                   Ent. 04/17/18 16:20:19                  Pg. 13 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18   Ent. 04/17/18 16:20:19                Pg. 14 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $521.68
           ABATIX                                                               Contingent
           PO BOX 671202                                                        Unliquidated
           DALLAS, TX 75267                                                     Disputed
           Date(s) debt was incurred     12/21/2016                          Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $72.91
           ABATIX                                                               Contingent
           PO BOX 671202                                                        Unliquidated
           DALLAS, TX 75267                                                     Disputed
           Date(s) debt was incurred     12/16/2016                          Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $43.07
           ABATIX                                                               Contingent
           PO BOX 671202                                                        Unliquidated
           DALLAS, TX 75267                                                     Disputed
           Date(s) debt was incurred     12/19/2016                          Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $12,895.36
           ABATIX CORP                                                          Contingent
           PO BOX 671202                                                        Unliquidated
           DALLAS, TX 75267-1202                                                Disputed
           Date(s) debt was incurred 4/20/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         37479                                               Best Case Bankruptcy



              Case 18-41350-BDL                        Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 15 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $8,795.00
          ABS AMERICAS                                                          Contingent
          5950 6TH AVE S SUITE 204                                              Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $85,776.00
          ACTION CLEANING CORP                                                  Contingent
          1668 NEWTON AVE                                                       Unliquidated
          SAN DIEGO, CA 92113                                                   Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,385.00
          AD. CHEMICAL TRANSPORT INC.                                           Contingent
          1210 ELKO DRIVE                                                       Unliquidated
          Sunnyvale, CA 94089                                                   Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,470.00
          ADVANCED CHEMICAL                                                     Contingent
          TRANSPORT INC.                                                        Unliquidated
          1210 ELKO DRIVE                                                       Disputed
          Sunnyvale, CA 94089
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/31/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $132.73
          ADVANTEC MANUFACTURING USA                                            Contingent
          28336 HUNTER CREEK ROAD                                               Unliquidated
          GOLD BEACH, OR 97444                                                  Disputed
          Date(s) debt was incurred 7/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,660.22
          AGGREKO LLC                                                           Contingent
          PO BOX 972562                                                         Unliquidated
          DALLAS, TX 75397-2562                                                 Disputed
          Date(s) debt was incurred 6/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $976.50
          AGGREKO, LLC                                                          Contingent
          PO BOX 972562                                                         Unliquidated
          Dallas, TX 75397                                                      Disputed
          Date(s) debt was incurred      6/12/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 16 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,269.01
          AIRGAS USA, LLC                                                       Contingent
          PO BOX 7423                                                           Unliquidated
          PASADENA, CA 91109-7423                                               Disputed
          Date(s) debt was incurred 2/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $910.00
          ALAMEDA COMMERCIAL PROPERTIES                                         Contingent
          2900 MAIN ST                                                          Unliquidated
          ALAMEDA, CA 94501                                                     Disputed
          Date(s) debt was incurred 4/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,497.13
          ALAMEDA ELECTRICAL DISTRIBUTOR                                        Contingent
          2420 BLANDING AVE                                                     Unliquidated
          ALAMEDA, CA 94501                                                     Disputed
          Date(s) debt was incurred 7/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $378.29
          ALARMGUARD SECURITY SYSTEMS                                           Contingent
          ALARM CENTER, INC                                                     Unliquidated
          PO BOX 3407                                                           Disputed
          LACEY, WA 98509-3407
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/21/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,172.59
          ALASKAN COPPER & BRASS CO                                             Contingent
          PO BOX 749791                                                         Unliquidated
          LOS ANGELES, CA 90074-9791                                            Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,933.38
          ALBANY STEEL, INC                                                     Contingent
          536 CLEVELAND AVE                                                     Unliquidated
          ALBANY, CA 94710-1007                                                 Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,210.87
          ALL BAY MILL & LUMBER CO                                              Contingent
          405 GREEN ISLAND RD                                                   Unliquidated
          AMERICAN CANYON, CA 94503-9649                                        Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 17 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $415.80
          ALLIANCE                                                              Contingent
          PO BOX 23804                                                          Unliquidated
          OAKLAND, CA 94623                                                     Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,679.40
          ALLIANCE                                                              Contingent
          PO BOX 23804                                                          Unliquidated
          OAKLAND, CA 94623                                                     Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,636.83
          ALLIANCE                                                              Contingent
          PO BOX 23804                                                          Unliquidated
          OAKLAND, CA 94623                                                     Disputed
          Date(s) debt was incurred 3/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $45,515.99
          ALLIANCE GAS PRODUCTS                                                 Contingent
          DBA ALLIANCE WELDING SUPPLIES                                         Unliquidated
          PO BOX 23804                                                          Disputed
          OAKLAND, CA 94623
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/7/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $39,862.04
          ALLIED BARTON SECURITY SERVICE                                        Contingent
          161 WASHINGTON ST., SUITE 600                                         Unliquidated
          EIGHT TOWER BRIDGE                                                    Disputed
          CONSHOCKEN, PA 19428
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/16/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $247.88
          ALLIED ELECTRONICS INC                                                Contingent
          7151 JACK NEWELL BLVD S                                               Unliquidated
          FORT WORTH, TX 76118                                                  Disputed
          Date(s) debt was incurred 10/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $79,232.91
          ALLIED UNIVERSAL SECURITY SERV                                        Contingent
          161 WASHINGTON STREET                                                 Unliquidated
          SUITE 600                                                             Disputed
          CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 18 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,053.00
          AMCLYDE                                                               Contingent
          240 E PALTO BLVD                                                      Unliquidated
          St PAUL, MN 55107                                                     Disputed
          Date(s) debt was incurred      5/19/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,818.43
          AMERGENT                                                              Contingent
          3553 ATLANTIC AVE, STE A158                                           Unliquidated
          Long BEACH, CA 90807                                                  Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,250.00
          American Arbitration                                                  Contingent
          120 Broadway                                                          Unliquidated
          21st Floor                                                            Disputed
          New York, NY 10271
                                                                             Basis for the claim:
          Date(s) debt was incurred      11/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,727.26
          AMERICAN METAL BEARING CO                                             Contingent
          7191 ACACIA AVE                                                       Unliquidated
          GARDEN GROVE, CA 92841-3907                                           Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $596.76
          AMERICAN TEXTILE & SUPPLY                                             Contingent
          PO BOX 7000                                                           Unliquidated
          SAN PABLO, CA 94806-7000                                              Disputed
          Date(s) debt was incurred 2/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $8,983.43
          AMERICAN VULKAN CORPORATION                                           Contingent
          2525 DUNDEE ROAD                                                      Unliquidated
          WINTER HAVEN, FL 33884                                                Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $542.99
          AMEX                                                                  Contingent
          PO Box 650448                                                         Unliquidated
          Dallas, TX 75265-0448                                                 Disputed
          Date(s) debt was incurred 11/1/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 19 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,300.00
          AMNAV                                                                 Contingent
          PO BOX 6578                                                           Unliquidated
          Carol STREAM, IL 60197                                                Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,300.00
          AMNAV                                                                 Contingent
          201 BURMA RD                                                          Unliquidated
          Rd OAKLAND, CA 94607                                                  Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,600.00
          AmNav Maritime                                                        Contingent
          #4945755304                                                           Unliquidated
          201 Burma Road                                                        Disputed
          Oakland, CA 94607
                                                                             Basis for the claim:
          Date(s) debt was incurred      12/6/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $95,450.00
          AMNAV MARITIME CORPORATION                                            Contingent
          201 BURMA ROAD                                                        Unliquidated
          OAKLAND, CA 94607                                                     Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,586.00
          ANCHOR QEA, LLC                                                       Contingent
          720 OLIVE WAY                                                         Unliquidated
          SUITE 1900                                                            Disputed
          SEATTLE, WA 98101
                                                                             Basis for the claim:
          Date(s) debt was incurred      5/5/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $58,426.02
          APPLETON MARINE, INC.                                                 Contingent
          3030 E PERSHING ST                                                    Unliquidated
          APPLETON, WI 54911-8671                                               Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,254.01
          APPLIED INDUSTRIAL TECH                                               Contingent
          P.O. BOX 100538                                                       Unliquidated
          PASADENA, CA 91189                                                    Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 20 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,568.02
          ARAMARK                                                               Contingent
          PO BOX 101179                                                         Unliquidated
          PASADENA, CA 91189                                                    Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,138.25
          ARAMARK REFRESHMENT SERVICES                                          Contingent
          41460 CHRISTY ST                                                      Unliquidated
          FREMONT, CA 94538                                                     Disputed
          Date(s) debt was incurred 6/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,182.27
          ARC DOCUMENT SOLUTIONS LLC                                            Contingent
          PO BOX 192224                                                         Unliquidated
          SAN FRANCISCO, CA 94119-2224                                          Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,900.00
          ARCHIE MCFAUL COMPASS ADJUSTER                                        Contingent
          202 REDONDO DRIVE                                                     Unliquidated
          PITTSBURG, CA 94565-5931                                              Disputed
          Date(s) debt was incurred 3/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,591.90
          AT&T                                                                  Contingent
          PO BOX 5025                                                           Unliquidated
          CAROL STREAM, IL 60197-5025                                           Disputed
          Date(s) debt was incurred 6/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,321.92
          AVALON LOGO WEAR                                                      Contingent
          25182 KERRI LN                                                        Unliquidated
          RAMONA, CA 92065-4741                                                 Disputed
          Date(s) debt was incurred 2/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $769,000.00
          BAE Systems Ship Repair Inc.                                          Contingent
          Attn: Ian T. Graham                                                   Unliquidated
          1101 Wilson Blvd., Suite 2000                                         Disputed
          Arlington, VA 22209
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 21 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $379.00
          BAUER MOYNIHAN                                                        Contingent
          2101 FOURTH ST                                                        Unliquidated
          SUITE 2400                                                            Disputed
          SEATTLE, WA 98121
                                                                             Basis for the claim:
          Date(s) debt was incurred      10/6/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,260.00
          BAY PROPELLER                                                         Contingent
          2900 MAIN ST                                                          Unliquidated
          SUITE 2100                                                            Disputed
          ALAMEDA, CA 94501-7739
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $63.00
          BAY SHRED                                                             Contingent
          PO BOX 131681                                                         Unliquidated
          Carlsbad, CA 92013                                                    Disputed
          Date(s) debt was incurred      1/2/2017                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,692.29
          BECK ELECTRIC SUPPLY                                                  Contingent
          2775 GOODRICK AVE                                                     Unliquidated
          RICHMOND, CA 94801                                                    Disputed
          Date(s) debt was incurred 12/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $421.35
          BIG DOG CITY CORP                                                     Contingent
          2060 NEWCOMB AVE                                                      Unliquidated
          SAN FRANCISCO, CA 94124                                               Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $406.94
          BIG DOG CITY CORPORATION                                              Contingent
          2060 NEWCOMB AVENUE                                                   Unliquidated
          SAN FRANCISCO, CA 94124                                               Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,778.47
          BIRCH EQUIPMENT RENTAL & SALES                                        Contingent
          PO BOX 30918                                                          Unliquidated
          BELLINGHAM, WA 98228                                                  Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 22 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $61.00
          BLACK & DECKER (U.S.) INC                                             Contingent
          DEPT CH 14231                                                         Unliquidated
          PALATINE, IL 60055-4231                                               Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,630.79
          BOA OLD BAE CHARGES                                                   Contingent
          100 N. Tyron Street                                                   Unliquidated
          Charlotte, NC 28255                                                   Disputed
          Date(s) debt was incurred 6/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Boilermaker-Blacksmith                                                Contingent
          IBB Local #549                                                        Unliquidated
          754 Minnesota Avenue
                                                                                Disputed
          Kansas City, KS 66101-2766
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $918.00
          BRADLEY'S PLASTIC BAG CO.                                             Contingent
          9130 FIRESTONE BLVD                                                   Unliquidated
          DOWNEY, CA 90241-5319                                                 Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,870.00
          Bridgewell Resources                                                  Contingent
          #0228618001                                                           Unliquidated
          PO Box 23372                                                          Disputed
          Tigard, OR 97281
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/3/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,791.62
          BRUCE S. ROSENBLATT & ASSOC.                                          Contingent
          2201 BDWY                                                             Unliquidated
          SUITE 504                                                             Disputed
          OAKLAND, CA 94612-3068
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $785.00
          BUSINESS PRINTING COMPANY, INC                                        Contingent
          PO BOX 19786                                                          Unliquidated
          1965 GILLESPIE WAY #103                                               Disputed
          EL CAJON, CA 92020
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 9 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 23 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,914.00
          C-MAP NORWAY AS                                                       Contingent
          PO BOX 212 4379                                                       Unliquidated
          EGERSUND FRANCISCO, NORWAY                                            Disputed
          Date(s) debt was incurred 1/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,351.00
          CALCO FENCE, INC                                                      Contingent
          4568 CONTRACTORS PL                                                   Unliquidated
          LIVERMORE, CA 94551-4805                                              Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $338.77
          CALIFORNIA SERVICE TOOL, INC                                          Contingent
          3875 BAY CENTER PL                                                    Unliquidated
          HAYWARD, CA 94545                                                     Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $235.66
          CARPENTER RIGGING & SUPPLY                                            Contingent
          222 NAPOLEON STREET                                                   Unliquidated
          SAN FRANCISCO, CA 94124                                               Disputed
          Date(s) debt was incurred 2/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,145.94
          CARTER LEDYARD & MILBURN LLP                                          Contingent
          2 WALL ST                                                             Unliquidated
          NEW YORK, NY 10005                                                    Disputed
          Date(s) debt was incurred 8/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,505.90
          CASCADE ENGINEERING SERVICES,                                         Contingent
          6640 185TH AVE NE                                                     Unliquidated
          REDMOND, WA 98052                                                     Disputed
          Date(s) debt was incurred 9/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,589.87
          CASCADE NATURAL GAS                                                   Contingent
          PO BOX 990065                                                         Unliquidated
          BOISE, ID 83799                                                       Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 24 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $467.75
          CASCADE NATURAL GAS                                                   Contingent
          PO BOX 990065                                                         Unliquidated
          BOISE, ID 83799                                                       Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $530.15
          CASCADE NATURAL GAS                                                   Contingent
          PO BOX 990065                                                         Unliquidated
          BOISE, ID 83799                                                       Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $10.76
          CASCADE NATURAL GAS                                                   Contingent
          PO BOX 990065                                                         Unliquidated
          BOISE, ID 83799                                                       Disputed
          Date(s) debt was incurred 10/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,013.11
          Cascade Natural Gas                                                   Contingent
          PO Box 5600                                                           Unliquidated
          Bismark, ND 58506                                                     Disputed
          Date(s) debt was incurred      3/7/2018                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,117.00
          CDTFA (BOE)                                                           Contingent
          PO Box 942879                                                         Unliquidated
          450 N Street                                                          Disputed
          Sacremento, CA 94279
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/2/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $549.10
          CENTER HARDWARE COMPANY, INC                                          Contingent
          3003 THIRD STREET                                                     Unliquidated
          SAN FRANCISCO, CA 94107-2500                                          Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $232.28
          CENTURYLINK                                                           Contingent
          PO BOX 91155                                                          Unliquidated
          SEATTLE, WA 98111                                                     Disputed
          Date(s) debt was incurred      10/10/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 25 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,074.50
          CHARTER INDUSTRIAL SUPPLY                                             Contingent
          7832 OSTROW ST                                                        Unliquidated
          SAN DIEGO, CA 92111                                                   Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,521.88
          CINCINNATI INC.                                                       Contingent
          PO BOX 44719                                                          Unliquidated
          MADISON, WI 53744-4719                                                Disputed
          Date(s) debt was incurred 3/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $252.17
          CINTAS                                                                Contingent
          7700 BENT BRANCH DR.                                                  Unliquidated
          STE 130                                                               Disputed
          Ste IRVING, TX 75063
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/18/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,067.61
          CINTAS CORPORATION                                                    Contingent
          7700 BENT BRANCH DRIVE                                                Unliquidated
          STE 130                                                               Disputed
          IRVING, TX 75063
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/16/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,382.40
          CLEAN HARBORS ENVIRONMENTAL SE                                        Contingent
          PO BOX 3442                                                           Unliquidated
          BOSTON, MA 02241-3442                                                 Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $79.79
          CLICK NETWORK                                                         Contingent
          PO BOX 11625                                                          Unliquidated
          TACOMA, WA 98411                                                      Disputed
          Date(s) debt was incurred      10/14/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $803,418.00
          Clyde & Co.
          RE: Princess Cruise Lines                                             Contingent
          101 Second Street                                                     Unliquidated
          24th Floor                                                            Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 26 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,638.81
          COAST CRANE COMPANY                                                   Contingent
          DEPT 33655                                                            Unliquidated
          PO BOX 39000                                                          Disputed
          SAN FRANCISCO, CA 94139
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/26/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,958.34
          COAST MARINE & IND SUPPLY                                             Contingent
          1480 BANCROFT AVENUE                                                  Unliquidated
          SAN FRANCISCO, CA 94124                                               Disputed
          Date(s) debt was incurred 9/9/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $95.80
          COAST PRODUCTS INC.                                                   Contingent
          954 ELLIOT AVE. WEST                                                  Unliquidated
          SEATTLE, WA 98119                                                     Disputed
          Date(s) debt was incurred 8/29/2014
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $8,027.22
          COLUMBIA-SENTINEL ENGINEERS                                           Contingent
          4000 DELDRIDGE WAY SW STE 300                                         Unliquidated
          SEATTLE, WA 98106                                                     Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $42,083.63
          COMPASS WATER SOLUTIONS INC                                           Contingent
          15542 MOSHER AVE                                                      Unliquidated
          TUSTIN, CA 92780                                                      Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,273.05
          CONCENTRA                                                             Contingent
          PO BOX 3700                                                           Unliquidated
          Rancho CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $399.20
          CONCENTRA                                                             Contingent
          PO BOX 3700                                                           Unliquidated
          Rancho CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 1/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 13 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 27 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $255.70
          CONCENTRA                                                             Contingent
          PO BOX 3700                                                           Unliquidated
          Rancho CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $45.25
          CONCENTRA                                                             Contingent
          PO BOX 3700                                                           Unliquidated
          Rancho CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 5/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $153.63
          CONCENTRA                                                             Contingent
          PO BOX 3700                                                           Unliquidated
          RANCHO CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 4/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,725.00
          CONTROLLED DEHUMIDIFICATION                                           Contingent
          5931 FORD COURT                                                       Unliquidated
          BRIGHTON, MI 48116                                                    Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $179.82
          COPY WRIGHTS                                                          Contingent
          5715 PACIFIC HWY E                                                    Unliquidated
          Tacoma, WA 98424                                                      Disputed
          Date(s) debt was incurred 8/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,309.90
          CSI PAINT                                                             Contingent
          257 WALNUT ST                                                         Unliquidated
          NAPA, CA 94559                                                        Disputed
          Date(s) debt was incurred      3/30/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $429.00
          CT CORPORATION                                                        Contingent
          PO BOX 4349                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 28 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $439.00
          CT CORPORATION                                                        Contingent
          PO BOX 4349                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 6/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $121,348.00
          CUSTOM SHIP INTERIORS, INC                                            Contingent
          PO BOX 882                                                            Unliquidated
          SOLOMONS, MD 20688                                                    Disputed
          Date(s) debt was incurred 2/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,344.09
          DESIGN SPACE                                                          Contingent
          PO BOX 31001                                                          Unliquidated
          Pasadena, CA 91110                                                    Disputed
          Date(s) debt was incurred      8/18/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,344.09
          DESIGN SPACE                                                          Contingent
          PO BOX 31001                                                          Unliquidated
          Pasadena, CA 91110                                                    Disputed
          Date(s) debt was incurred      7/14/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $754.14
          DESIGN SPACE                                                          Contingent
          PO BOX 31001                                                          Unliquidated
          Pasadena, CA 91110                                                    Disputed
          Date(s) debt was incurred      7/14/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,767.06
          DESIGN SPACE MODULAR BLDGS                                            Contingent
          2725 FITZGERALD DR.                                                   Unliquidated
          DIXON, CA 95260                                                       Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $72.47
          DHL                                                                   Contingent
          16592 COLLECTIONS CENTER DR                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 15 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 29 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $202.93
          DIABLO TROPHIES & AWARDS                                              Contingent
          1922 CONTRA COSTA BLVD                                                Unliquidated
          Pleasant Hill, CA 94523                                               Disputed
          Date(s) debt was incurred 9/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $840.64
          DIMENSIONAL SILK SCREEN                                               Contingent
          3750 DALBERGIA ST                                                     Unliquidated
          SAN DIEGO, CA 92113                                                   Disputed
          Date(s) debt was incurred 9/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $72.74
          DIRECT TV                                                             Contingent
          PO BOX 105249                                                         Unliquidated
          ATLANTA, GA 30348-5249                                                Disputed
          Date(s) debt was incurred 11/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $268.00
          DISTRIBUTION INTERNATIONAL                                            Contingent
          9000 RAILWOOD DR                                                      Unliquidated
          HOUSTON, TX 77078                                                     Disputed
          Date(s) debt was incurred 4/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $322.00
          DMV                                                                   Contingent
          1377 Fell Street                                                      Unliquidated
          SAN FRANCISCO, CA 94117                                               Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $33,741.00
          DRS MARINE INC                                                        Contingent
          525 CHESTNUT ST                                                       Unliquidated
          VALLEJO, CA 94590                                                     Disputed
          Date(s) debt was incurred      12/29/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,973.40
          EDGE INSPECTION GROUP, INC                                            Contingent
          4576 E 2ND ST                                                         Unliquidated
          SUITE C                                                               Disputed
          BENICIA, CA 94510
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 16 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 30 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,398.75
          ELLIOTT BAY DESIGN GROUP                                              Contingent
          5305 SHILSHOLE AVE NW                                                 Unliquidated
          SUITE 100                                                             Disputed
          SEATTLE, WA 98107
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $970.24
          EMERALD SERVICES, INC                                                 Contingent
          2600 NORTH CENTRAL EXPRESSWAY                                         Unliquidated
          SUITE 200                                                             Disputed
          RICHARDSON, TX 75080
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,210.27
          Employment Developent Dept                                            Contingent
          745 Franklin Street                                                   Unliquidated
          Suite 400                                                             Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/2007
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,958.45
          ENVIRONMENTAL RECOVERY SERVICE                                        Contingent
          13940 LIVE OAK AVE                                                    Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 4/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $652.18
          ENVIROSERV                                                            Contingent
          13940 LIVE OAK AVENUE                                                 Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,110.00
          ENVIROSERV                                                            Contingent
          13940 LIVE OAK AVENUE                                                 Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,955.00
          ENVIROSERV                                                            Contingent
          13940 LIVE OAK AVENUE                                                 Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 17 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 31 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $715.00
          ENVIROSERV                                                            Contingent
          13940 LIVE OAK AVENUE                                                 Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $915.63
          ENVIROSERV                                                            Contingent
          13940 LIVE OAK AVENUE                                                 Unliquidated
          BALDWIN PARK, CA 91706                                                Disputed
          Date(s) debt was incurred 9/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,985.00
          EVOQUA                                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      1/26/2017                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,935.00
          EVOQUA                                                                Contingent
          28563 NETWORK PL                                                      Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred      1/31/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,889.09
          EVOQUA WATER TECHNOLOGIES LLC                                         Contingent
          2 MILLTOWN CT.                                                        Unliquidated
          UNION, NJ 07083                                                       Disputed
          Date(s) debt was incurred 2/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,285.00
          EXPRESS SUPPLY AND STEEL, LLC                                         Contingent
          PO BOX 189                                                            Unliquidated
          RACELAND, LA 70394-0189                                               Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $237,655.79
          FAIRBANKS MORSE ENGINE                                                Contingent
          7824 COLLECTION CENTER DR                                             Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred 2/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 18 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 32 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,361.00
          FAIRLEAD INTEGRATED POWER                                             Contingent
          912 VENTURES WAY                                                      Unliquidated
          CHESAPEAKE, VA 23320                                                  Disputed
          Date(s) debt was incurred 3/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,612.70
          FARWEST STEEL CORPORATION                                             Contingent
          PO BOX 1026                                                           Unliquidated
          EUGENE, OR 97440                                                      Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $140,273.65
          FASSMER SERVICES AMERICA, LLC                                         Contingent
          3650 NW 15TH ST                                                       Unliquidated
          LAUDERHILL, FL 33311                                                  Disputed
          Date(s) debt was incurred 5/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $328.39
          FEDEX                                                                 Contingent
          PO BOX 94515                                                          Unliquidated
          Palatine, IL 60094-4515                                               Disputed
          Date(s) debt was incurred 9/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $73.13
          FEDEX                                                                 Contingent
          PO BOX 94515                                                          Unliquidated
          PALATINE, IL 60094-4515                                               Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,013.63
          FEDEX FREIGHT                                                         Contingent
          PO BOX 223125                                                         Unliquidated
          PITTSBURGH, PA 15251-2125                                             Disputed
          Date(s) debt was incurred 6/16/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,327.10
          FLEET PRIDE                                                           Contingent
          PO BOX 847118                                                         Unliquidated
          DALLAS, TX 75284-7118                                                 Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 19 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 33 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $360.00
          FLUKE ELECTRONICS                                                     Contingent
          PO BOX 9090                                                           Unliquidated
          EVERETT, WA 98206-9090                                                Disputed
          Date(s) debt was incurred 5/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $112.50
          FOLEY & MANSFIELD                                                     Contingent
          250 MARQUETTE AVE                                                     Unliquidated
          SUITE 1200                                                            Disputed
          MINNEAPOLIS, MN 55401
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $105.00
          FRANCISCAN OCCUPATIONAL HEALTH                                        Contingent
          PORT CLINIC                                                           Unliquidated
          PO BOX 31001-1553                                                     Disputed
          PASADENA, CA 91110
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/29/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,100.00
          GAHAGAN & BRYANT ASSOC., INC.                                         Contingent
          600 MARTIN AVENUE                                                     Unliquidated
          SUITE 200                                                             Disputed
          ROHNERT PARK, CA 94928
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/27/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,174.00
          GARDCO PAUL N. GARDNER CO. IN                                         Contingent
          316 NE FIRST STREET                                                   Unliquidated
          POMPANO BEACH, FL 33060                                               Disputed
          Date(s) debt was incurred 12/12/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,362.51
          GILLS ELECTRIC                                                        Contingent
          2410 WEBSTER ST                                                       Unliquidated
          OAKLAND, CA 94612                                                     Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,900.00
          GPA VALUATION                                                         Contingent
          7522 28TH ST ST WEST                                                  Unliquidated
          UNIVERSITY PLACE, WA 98466                                            Disputed
          Date(s) debt was incurred 5/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 20 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 34 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,272.22
          GRAINGER                                                              Contingent
          DEPT. 825105745                                                       Unliquidated
          PO BOX 419267                                                         Disputed
          KANSAS CITY, MO 64141-6267
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/22/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,382.25
          GRANTHAM ENGINEERING                                                  Contingent
          7807 HILLANDALE DR                                                    Unliquidated
          SAN DIEGO, CA 92120-1508                                              Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,462.50
          GREEN MARINE                                                          Contingent
          111 CENTRAL AVE                                                       Unliquidated
          Metarie, LA 70001                                                     Disputed
          Date(s) debt was incurred      1/25/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,480.00
          GRISWOLD INDUSTRIES DBA CLA-VA                                        Contingent
          PO BOX 1325                                                           Unliquidated
          NEWPORT BEACH, CA 92659                                               Disputed
          Date(s) debt was incurred 2/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $352.44
          GUARDIAN SECURITY                                                     Contingent
          1743 1ST AVE S                                                        Unliquidated
          SEATTLE, WA 98134                                                     Disputed
          Date(s) debt was incurred 2/22/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,842.50
          HANSON BRIDGETT                                                       Contingent
          425 MARKET ST                                                         Unliquidated
          26TH FLOOR                                                            Disputed
          SAN FRANCISCO, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $106.80
          HARBOR ISLAND SUPPLY                                                  Contingent
          230 S CHICAGO ST                                                      Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 21 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 35 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $8,123.50
          HARDWARE SPECIALTY CO INC                                             Contingent
          3419 11TH AVE SW                                                      Unliquidated
          SEATTLE, WA 98134                                                     Disputed
          Date(s) debt was incurred 12/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $150.70
          HART HEALTH                                                           Contingent
          PO BOX 94044                                                          Unliquidated
          SEATTLE, WA 98124                                                     Disputed
          Date(s) debt was incurred      12/4/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,685.00
          HAWKEYE PHOTOGRAPHY                                                   Contingent
          PO BOX 449                                                            Unliquidated
          SANTA CLARA, CA 95052                                                 Disputed
          Date(s) debt was incurred 12/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,000.00
          HEGER DRY DOCK INC.                                                   Contingent
          531 CONCORD ST                                                        Unliquidated
          HOLLISTON, MA 01746                                                   Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $590.65
          HELWIG CARBON PRODUCTS, INC                                           Contingent
          8900 W TOWER AVENUE                                                   Unliquidated
          MILWAUKEE, WI 53224                                                   Disputed
          Date(s) debt was incurred 10/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,338.72
          HOLT OF CALIFORNIA                                                    Contingent
          PO BOX 100001                                                         Unliquidated
          SACRAMENTO, CA 95813                                                  Disputed
          Date(s) debt was incurred 11/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,384.15
          HOLT OF CALIFORNIA                                                    Contingent
          PO BOX 100001                                                         Unliquidated
          SACRAMENTO, CA 95813                                                  Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 22 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 36 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $381.59
          HOME DEPOT CREDIT CARD SERVICE                                        Contingent
          PO BOX 9001043                                                        Unliquidated
          DEPT 32-2501611390                                                    Disputed
          LOUISVILLE, KY 40290-1043
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/5/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,235.00
          HUB INTERNATIONAL NORTHWEST                                           Contingent
          PO BOX 749672                                                         Unliquidated
          LOS ANGELES, CA 90074-9672                                            Disputed
          Date(s) debt was incurred 3/23/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,547.88
          HUBBELL ELECTRIC HEATER CO                                            Contingent
          PO BOX 288                                                            Unliquidated
          SRATFORD, CT 06615-0288                                               Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,053.00
          HYDRALIFT AMCLYDE, INC                                                Contingent
          240 EAST PLATO BLVD                                                   Unliquidated
          Saint Paul, MN 55107                                                  Disputed
          Date(s) debt was incurred 5/19/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          IBEW Pacific Coast Pen Fund
          IBEW Local #6                                                         Contingent
          5 Third Street                                                        Unliquidated
          Suite 525                                                             Disputed
          SAN FRANCISCO, CA 94103-3216
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $205,700.50
          IMECO, INC                                                            Contingent
          1401 CARPENTER AVE                                                    Unliquidated
          IRON MOUNTAIN, MI 49801                                               Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,418.23
          INDCON                                                                Contingent
          LOCKBOX 776046                                                        Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred      2/17/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 23 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 37 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $75.00
          INDUSTRIAL CONTAINER SERVICE                                          Contingent
          749 GALLERIA BLVD                                                     Unliquidated
          Roseville, CA 95678                                                   Disputed
          Date(s) debt was incurred 1/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $418.42
          INDUSTRIAL CONTAINER SERVICE                                          Contingent
          749 GALLERIA BLVD                                                     Unliquidated
          Roseville, CA 95678                                                   Disputed
          Date(s) debt was incurred 4/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,729.10
          INDUSTRIAL CONTAINER SERVICE                                          Contingent
          749 GALLERIA BLVD                                                     Unliquidated
          Roseville, CA 95678                                                   Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,560.60
          INDUSTRIAL CONTAINER SERVICES                                         Contingent
          749 GALLERIA BLVD                                                     Unliquidated
          Roseville, CA 95678                                                   Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,418.23
          INDUSTRIAL SAFETY SUPPLY CORPO                                        Contingent
          PO BOX 8686                                                           Unliquidated
          EMERYVILLE, CA 94662                                                  Disputed
          Date(s) debt was incurred 10/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,173.59
          INGENIUM GROUP LLC                                                    Contingent
          2255 BARHAM DR                                                        Unliquidated
          SUITE A                                                               Disputed
          ESCONDIDO, CA 92029
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/14/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,103.16
          INSTRUMART                                                            Contingent
          35 Green Mountain Drive                                               Unliquidated
          South Burlington, VT 05403                                            Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 24 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 38 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Int'l Assoc. of Machinists
          IAM Local #1414                                                       Contingent
          1300 Connecticut Avenue NW                                            Unliquidated
          Suite 300                                                             Disputed
          Washington, DC 20036-1711
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $948.58
          INTEGRA                                                               Contingent
          PO BOX 2966                                                           Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred      10/8/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,000.00
          Internal Revenue Service                                              Contingent
          PO Box 37940                                                          Unliquidated
          Hartford, CT 06176-7940                                               Disputed
          Date(s) debt was incurred 12/31/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,124.48
          INTERNATIONAL PAINT, LLC                                              Contingent
          PO BOX 847202                                                         Unliquidated
          DALLAS, TX 75284-7202                                                 Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $260.00
          INVERTECH, INC.                                                       Contingent
          1404 INDUSTRIAL DRIVE, SUITE 1                                        Unliquidated
          SALINE, MI 48176                                                      Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $25.12
          IRON MOUNTAIN                                                         Contingent
          1000 CAMPUS DR                                                        Unliquidated
          Collegeville, PA 19426                                                Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,600.00
          JACOBS                                                                Contingent
          5161 ELLSWORTH ST                                                     Unliquidated
          Chicago, CA 92110                                                     Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 25 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 39 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,780.00
          JACOBS CONSULTING                                                     Contingent
          5161 ELLSWORTH ST                                                     Unliquidated
          SAN DIEGO, CA 92110                                                   Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,989.00
          JDI ELECTRICAL SERVICES                                               Contingent
          624 COMMERCE CT                                                       Unliquidated
          MANTECA, CA 95336                                                     Disputed
          Date(s) debt was incurred 4/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,914.00
          JEPPESEN INC.                                                         Contingent
          225 W Santa Clara St                                                  Unliquidated
          Suite 1600                                                            Disputed
          San Jose, CA 95113-1752
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/22/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $14.75
          JOHNSTONE SUPPLY                                                      Contingent
          2100 Dabney Rd                                                        Unliquidated
          Richmond, VA 23230                                                    Disputed
          Date(s) debt was incurred 3/2/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $51,903.35
          JOTUN PAINTS, INC.                                                    Contingent
          9203 HIGHWAY 23                                                       Unliquidated
          BELLE CHASSE, LA 70037                                                Disputed
          Date(s) debt was incurred 11/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $70.49
          KAMAN INDUSTRIAL TECHNOLOGIES                                         Contingent
          FILE 25356                                                            Unliquidated
          LOS ANGELES, CA 90074-5356                                            Disputed
          Date(s) debt was incurred 7/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,500.00
          KERN OIL FILTER RECYCLING, LLC                                        Contingent
          2355 RD                                                               Unliquidated
          SUITE 192                                                             Disputed
          DELANO, CA 93215
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/18/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 26 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 40 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $196.35
          KLEEN BLAST                                                           Contingent
          A DIVISION OF CANAM MINERALS                                          Unliquidated
          50 OAK COURT SUITE 210                                                Disputed
          DANVILLE, CA 94526
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,641.89
          KLEEN BLAST ABRASIVES                                                 Contingent
          50 OAK COURT, STE 210                                                 Unliquidated
          Ste DANVILLE, CA 94526                                                Disputed
          Date(s) debt was incurred 1/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,100.00
          KOFFLER ELECTRICAL MECHANICAL                                         Contingent
          527 WHITNEY ST                                                        Unliquidated
          SAN LEANDRO, CA 94577                                                 Disputed
          Date(s) debt was incurred 4/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,270.26
          KONICA MINOLTA                                                        Contingent
          21719 NETWORK PL                                                      Unliquidated
          CHICAGO, IL 60673-1217                                                Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,920.00
          Law Office of Benjamin Kelly                                          Contingent
          Re: Volt Services Corp                                                Unliquidated
          9218 Roosevelt Way NE                                                 Disputed
          SEATTLE, WA 98115
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $875.00
          LLOYDS REGISTER QUALITY ASSURA                                        Contingent
          PO BOX 301030                                                         Unliquidated
          DALLAS, TX 75303-1030                                                 Disputed
          Date(s) debt was incurred 6/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $58,753.00
          MACKAY COMMUNICATIONS INC                                             Contingent
          PO BOX 60925                                                          Unliquidated
          CHARLOTTE, NC 28260                                                   Disputed
          Date(s) debt was incurred 5/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 27 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 41 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $372,473.78
          MAN DIESEL                                                            Contingent
          1600A BRITTMOORE RD                                                   Unliquidated
          Houston, TX 77043                                                     Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,852.21
          MARCO                                                                 Contingent
          3425 EAST LOCUST ST                                                   Unliquidated
          DAVENPORT, IA 52803                                                   Disputed
          Date(s) debt was incurred 1/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Marine Carpenters Pension Fund                                        Contingent
          Un. Brotherhood of Carp. Local                                        Unliquidated
          PO Box 2510
                                                                                Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,965.50
          MARINE EXPRESS INC.                                                   Contingent
          2102 KELLEY CT.                                                       Unliquidated
          PITTSBURG, CA 94565                                                   Disputed
          Date(s) debt was incurred 4/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $836.00
          MARK MORRIS ASSOCIATES                                                Contingent
          907 7TH AVE NORTH                                                     Unliquidated
          EDMONDS, WA 98020                                                     Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $51.70
          MATHESON TRI-GAS INC                                                  Contingent
          DEPT LA 23793                                                         Unliquidated
          Pasadena, CA 91185                                                    Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $997.83
          MATHESON TRI-GAS INC                                                  Contingent
          DEPT 3028 PO BOX 123028                                               Unliquidated
          Dallas, TX 75312                                                      Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 28 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 42 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $51.70
          MATHESON TRI-GAS INC                                                  Contingent
          DEPT LA 23793                                                         Unliquidated
          Pasadena, CA 91185                                                    Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,693.04
          MATTHEWS MECHANICAL                                                   Contingent
          33480 WESTERN AVE                                                     Unliquidated
          UNION CITY, CA 94587                                                  Disputed
          Date(s) debt was incurred 2/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $290.00
          MCCAMPBELL ANALYTICAL, INC                                            Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $756.00
          MCCAMPBELL ANALYTICAL, INC                                            Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $571.00
          MCCAMPBELL ANALYTICAL, INC                                            Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $350.00
          MCCAMPBELL ANALYTICAL, INC                                            Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $372.00
          MCCAMPBELL ANALYTICAL, INC.                                           Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 29 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 43 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,296.00
          MCCAMPBELL ANALYTICAL, INC.                                           Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $72.00
          MCCAMPBELL ANALYTICAL, INC.                                           Contingent
          1534 WILLOW PASS ROAD                                                 Unliquidated
          Pittsburg, CA 94565                                                   Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $320.00
          MEDI                                                                  Contingent
          4814 E 2ND ST                                                         Unliquidated
          BENICIA, CA 94510                                                     Disputed
          Date(s) debt was incurred      10/24/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $320.00
          MEDICAL ELECTRONIC DEVICES                                            Contingent
          4814 EAST SECOND ST                                                   Unliquidated
          BENICIA, CA 94510                                                     Disputed
          Date(s) debt was incurred 10/24/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,984.12
          MISSION JANITORIAL & ABRASIVE                                         Contingent
          9292 ACTIVITY RD                                                      Unliquidated
          SAN DIEGO, CA 92126-4425                                              Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,478.26
          MOBILE MODULAR MGMT CORP. MCGR                                        Contingent
          PO BOX 45043                                                          Unliquidated
          SAN FRANCISCO, CA 94145-0043                                          Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $113.90
          MOBILE MODULAR Portable Strg.                                         Contingent
          5700 LAS POSITAS ROAD                                                 Unliquidated
          Livermore, CA 94551                                                   Disputed
          Date(s) debt was incurred 1/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 30 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 44 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,000.00
          MONKEYBRAINS                                                          Contingent
          286 12TH ST                                                           Unliquidated
          SAN FRANCISCO, CA 94103                                               Disputed
          Date(s) debt was incurred 2/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $81.56
          MOORE MEDICAL                                                         Contingent
          PO BOX 99718                                                          Unliquidated
          CHICAGO, IL 60696                                                     Disputed
          Date(s) debt was incurred      9/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $379,087.43
          MOTOR-SERVICES HUGO STAMP                                             Contingent
          3190 SW 4TH AVE                                                       Unliquidated
          FT LAUDERDALE, FL 33315                                               Disputed
          Date(s) debt was incurred 3/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,430.00
          MYRIAD INDUSTRIES                                                     Contingent
          3454 E STREET                                                         Unliquidated
          San Diego, CA 92102                                                   Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,368.00
          MYRIAD INDUSTRIES                                                     Contingent
          3454 E STREET                                                         Unliquidated
          San Diego, CA 92102                                                   Disputed
          Date(s) debt was incurred 2/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,938.00
          MYRIAD INDUSTRIES                                                     Contingent
          3454 E STREET                                                         Unliquidated
          San Diego, CA 92102                                                   Disputed
          Date(s) debt was incurred 2/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $948.82
          NELSON FASTENER SYSTEM                                                Contingent
          7900 W RIDGE RD.                                                      Unliquidated
          PO BOX 4019                                                           Disputed
          ELYRIA, OH 44036
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/29/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 31 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 45 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,614.10
          NEW PIG CORPORATION                                                   Contingent
          ONE PORK AVE                                                          Unliquidated
          TIPTON, PA 16684-0304                                                 Disputed
          Date(s) debt was incurred 4/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,683.10
          NORTH AMERICAN CRANE BUREAU                                           Contingent
          930 WILLISTON PARK POINT                                              Unliquidated
          LAKE MARY, FL 32746                                                   Disputed
          Date(s) debt was incurred 9/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $8,057.76
          OCCUPATIONAL HEALTH CENTERS                                           Contingent
          PO BOX 3700                                                           Unliquidated
          RANCHO CUCAMONGA, CA 91729                                            Disputed
          Date(s) debt was incurred 3/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,551.84
          OFFICE DEPOT                                                          Contingent
          PO BOX 6403                                                           Unliquidated
          SIOUX FALLS, SD 57117                                                 Disputed
          Date(s) debt was incurred 2016/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $295.74
          OFFICE DEPOT                                                          Contingent
          PO BOX 6403                                                           Unliquidated
          SIOUX FALLS, SD 57117                                                 Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $879.84
          OFFICE TEAM                                                           Contingent
          PO BOX 743295                                                         Unliquidated
          LOS ANGELES, CA 90074-3294                                            Disputed
          Date(s) debt was incurred 3/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $457.50
          OIL RE-REFINING COMPANY, INC                                          Contingent
          4150 N SUTTLE RD                                                      Unliquidated
          PORTLAND, OR 97217                                                    Disputed
          Date(s) debt was incurred 2/9/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 32 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 46 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $356.31
          ONECALL                                                               Contingent
          PO BOX 206821                                                         Unliquidated
          DALLAS, TX 75320                                                      Disputed
          Date(s) debt was incurred      12/23/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Operating Engineers Trust Fund
          OE Local #3                                                           Contingent
          100 Corson Street                                                     Unliquidated
          Suite 100                                                             Disputed
          Pasadena, CA 91103
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Pac Coast Shipyards Pen. Fund                                         Contingent
          Sheet Metal Workers Local #104                                        Unliquidated
          PO Box 2510
                                                                                Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Pac Coast Shipyards Pen. Fund                                         Contingent
          Painters Local #1176                                                  Unliquidated
          PO Box 2510
                                                                                Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Pac Coast Shipyards Pen. Fund                                         Contingent
          Laborer's Local #886                                                  Unliquidated
          PO Box 2510
                                                                                Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Pac Coast Shipyards Pen. Fund                                         Contingent
          UA Local #38                                                          Unliquidated
          PO Box 2510
                                                                                Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $187.47
          PACIFIC OFFICE AUTOMATION                                             Contingent
          PO BOX 41602                                                          Unliquidated
          PHILADELPHIA, PA 19101-1602                                           Disputed
          Date(s) debt was incurred 10/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 33 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 47 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,921.26
          PACIFIC RADAR                                                         Contingent
          12310 HIGHWAY 99, SUITE 132                                           Unliquidated
          EVERETT, WA 98204-7556                                                Disputed
          Date(s) debt was incurred 9/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,355.63
          PARK PRESIDIO                                                         Contingent
          1300 A 25TH ST                                                        Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred 4/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $304.48
          Patenaude & Felix, Law offices                                        Contingent
          19401 40th Avenue West Ste 280                                        Unliquidated
          Lynnwood, WA 98036                                                    Disputed
          Date(s) debt was incurred 2/26/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $368.47
          PCS                                                                   Contingent
          PO BOX 80455                                                          Unliquidated
          Las VEGAS, NV 89180                                                   Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $726.02
          PDM                                                                   Contingent
          PO BOX 740965                                                         Unliquidated
          LOS ANGELES, CA 90074                                                 Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26,811.40
          PHILIPS, ERLEWINE, GIVEN & CAR                                        Contingent
          39 MESA STREET, SUITE 201                                             Unliquidated
          THE PRESIDIO                                                          Disputed
          SAN FRANCISCO, CA 94129
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $479.26
          PITNEY BOWES                                                          Contingent
          PO BOX 371887                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred      12/12/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 34 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 48 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,060.70
          POGOZONE INTERNET SERVICES                                            Contingent
          PO BOX 974                                                            Unliquidated
          LYNDEN, WA 98264                                                      Disputed
          Date(s) debt was incurred 10/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $742,887.40
          PORT OF SAN FRANCISCO                                                 Contingent
          PO BOX 7862                                                           Unliquidated
          SAN FRANCISCO, CA 94120-7862                                          Disputed
          Date(s) debt was incurred 8/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,760.40
          PRAXAIR DISTRIBUTION INC.                                             Contingent
          PO BOX 120812                                                         Unliquidated
          DEPT 0812                                                             Disputed
          DALLAS, TX 75312
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/22/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $803,418.00
          Princess Cruise Lines, Ltd                                            Contingent
          24305 Town Center Drive                                               Unliquidated
          Santa Clarita, CA 91355                                               Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,990.00
          PROEST SOFTWARE, INC                                                  Contingent
          17065 CAMINO SAN BERNARDO                                             Unliquidated
          SUITE 150                                                             Disputed
          SAN DIEGO, CA 92127
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $230.00
          PUMP TECH                                                             Contingent
          12020 SE 32ND STREET                                                  Unliquidated
          SUITE 2                                                               Disputed
          BELLEVUE, WA 98005
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $572.38
          QUILL.COM                                                             Contingent
          PO BOX 37600                                                          Unliquidated
          PHILADELPHIA, PA 19101-0600                                           Disputed
          Date(s) debt was incurred 9/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 35 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 49 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,822.40
          R. STAHL, INC                                                         Contingent
          13259 N PROMENADE BLVD                                                Unliquidated
          STAFFORD, TX 77477                                                    Disputed
          Date(s) debt was incurred 2/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,822.39
          R. STAHL, INC                                                         Contingent
          13259 N PROMENADE BLVD                                                Unliquidated
          STAFFORD, TX 77477                                                    Disputed
          Date(s) debt was incurred 5/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $25.00
          RAINIER COLLECTION SERVICES                                           Contingent
          PO Box 3622                                                           Unliquidated
          Bellevue, WA 98009                                                    Disputed
          Date(s) debt was incurred 1/15/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $900.00
          RAINIER ENVIRONMENTAL LAB                                             Contingent
          5013 PACIFIC HWY                                                      Unliquidated
          SUITE 20                                                              Disputed
          FIFE, WA 98424
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,517.29
          RAPID PREP LLC - WA                                                   Contingent
          44 CROSS PARK AVE                                                     Unliquidated
          NORTH KINGSTON, RI 02852                                              Disputed
          Date(s) debt was incurred 9/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,198.63
          RAYMOND HANDLING CONCEPTS                                             Contingent
          41400 BOYCE ROAD                                                      Unliquidated
          FREMONT, CA 94538                                                     Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,159.74
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred      8/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 36 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 50 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,159.74
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred      7/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,159.74
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred      6/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,159.74
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred      5/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,159.74
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred      4/22/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $409.32
          Ready Refresh                                                         Contingent
          PO Box 856158                                                         Unliquidated
          Louisville, KY 40285-6158                                             Disputed
          Date(s) debt was incurred 11/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $636.72
          Ready Refresh                                                         Contingent
          PO Box 856158                                                         Unliquidated
          Louisville, KY 40285-6158                                             Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,432.62
          READY REFRESH                                                         Contingent
          PO BOX 856158                                                         Unliquidated
          LOUISVILLE, KY 40285-6158                                             Disputed
          Date(s) debt was incurred 2/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 37 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 51 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,205.00
          RECOLOGY SUNSET SCAVENGER                                             Contingent
          RECOLOGY GOLDEN GATE                                                  Unliquidated
          250 EXECUTIVE PARK, SUITE 2100                                        Disputed
          SAN FRANCISCO, CA 94134-3306
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/31/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,853.60
          RELIANCE METAL CENTER                                                 Contingent
          PO BOX 748591                                                         Unliquidated
          LOS ANGELES, CA 90074-8554                                            Disputed
          Date(s) debt was incurred 12/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,746.00
          RELIANT WATER MANAGEMENT                                              Contingent
          1001 BAYHILL DR                                                       Unliquidated
          2ND FLOOR                                                             Disputed
          SAN BRUNO, CA 94066
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $572.00
          S.D. MEYERS, LLC                                                      Contingent
          180 SOUTH AVE                                                         Unliquidated
          TALLMADGE, OH 44278                                                   Disputed
          Date(s) debt was incurred 10/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $707.80
          SAFE-ENTRY TECHNICAL, INC                                             Contingent
          9300 SANTA ANITA AVE                                                  Unliquidated
          SUITE 105                                                             Disputed
          RANCHO CUCAMONGA, CA 91730
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/16/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $831.41
          SAFETY-KLEEN                                                          Contingent
          PO BOX 7170                                                           Unliquidated
          PASADENA, CA 91109-7170                                               Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,900.00
          SAFWAY                                                                Contingent
          1660 GILBRETH RD                                                      Unliquidated
          Burlingame, CA 94010                                                  Disputed
          Date(s) debt was incurred 2/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 38 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 52 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $103,896.41
          SAFWAY SERVICES, LLC                                                  Contingent
          1660 GILBRETH RD                                                      Unliquidated
          BURLINGAME, CA 94010                                                  Disputed
          Date(s) debt was incurred 3/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $45,000.00
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                            Contingent
          Room 140                                                              Unliquidated
          City Hall                                                             Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,947.82
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                            Contingent
          Room 140                                                              Unliquidated
          City Hall                                                             Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/21/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,169.08
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                            Contingent
          Room 140                                                              Unliquidated
          City Hall                                                             Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/11/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $254,249.41
          SAN FRANCISCO WATER POWER SEWE                                        Contingent
          ATTN: CSB, RETAIL ELECTRIC                                            Unliquidated
          525 GOLDEN GATE AVE, 3RD FLOOR                                        Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,500.00
          SCHRADER & SON, LLC                                                   Contingent
          2170 C COMMERCE AVE                                                   Unliquidated
          CONCORD, CA 94520                                                     Disputed
          Date(s) debt was incurred 10/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $686.87
          SEACOAST ELECTRIC CO.                                                 Contingent
          PO BOX 98059                                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred 2/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 39 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 53 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,920.20
          SF BAR PILOTS                                                         Contingent
          PIER 9 EAST END                                                       Unliquidated
          SAN FRANCISCO, CA 94111                                               Disputed
          Date(s) debt was incurred 1/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $244,456.06
          SF Public Utilities Commissio                                         Contingent
          #60DRG60D-01                                                          Unliquidated
          1390 Market Street, 7th Floor                                         Disputed
          SAN FRANCISCO, CA 94102-5408
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $37.15
          SGS HERGUTH LABORATORIES, INC.                                        Contingent
          PO BOX 2502                                                           Unliquidated
          CAROL STREAM, IL 60132-2502                                           Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $35,450.00
          SIMPLEX AMERICAS LLC                                                  Contingent
          20 BARTLES CORNER ROAD                                                Unliquidated
          FLEMINGTON, NJ 08822-5717                                             Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,834.77
          SMITH FIRE SYSTEMS INC                                                Contingent
          1106 54TH AVE E                                                       Unliquidated
          TACOMA, WA 98424                                                      Disputed
          Date(s) debt was incurred 3/15/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $672.94
          SOLID WASTE MANAGEMENT                                                Contingent
          3510 SOUTH MULLEN ST                                                  Unliquidated
          Tacoma, WA 98409                                                      Disputed
          Date(s) debt was incurred 9/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,184.56
          SPERRY MARINE A UNIT OF NORTH                                         Contingent
          1865 INDUSTRIAL BLVD                                                  Unliquidated
          NORTHROP GRUMMAN SPERRY MARINE                                        Disputed
          HARVEY, LA 70058
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/22/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 40 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 54 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,903.09
          SPRINT                                                                Contingent
          PO BOX 219100                                                         Unliquidated
          KANSAS CITY, MO 64121-9100                                            Disputed
          Date(s) debt was incurred 10/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $166.65
          STELLAR INDUSTRIAL SUPPLY                                             Contingent
          711 E 11TH STREET                                                     Unliquidated
          TACOMA, WA 98421                                                      Disputed
          Date(s) debt was incurred 9/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $707.50
          STREICH BROTHERS, INC.                                                Contingent
          1650 MARINE VIEW DRIVE                                                Unliquidated
          TACOMA, WA 98422                                                      Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $668.43
          STUD WELDING PRODUCTS                                                 Contingent
          PO BOX 68887                                                          Unliquidated
          SEATTLE, WA 98168                                                     Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $360.00
          SUMMIT LAW GROUP PLLC                                                 Contingent
          315 FIFTH AVENUE SOUTH                                                Unliquidated
          SUITE 1000                                                            Disputed
          SEATTLE, WA 98104-2682
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/21/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $405.59
          TECH-1 AUTOMOTIVE                                                     Contingent
          1460 ILLINOIS STREET                                                  Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $226.25
          TECH-1 AUTOMOTIVE                                                     Contingent
          1460 ILLINOIS STREET                                                  Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 41 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 55 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $217.50
          TECH-1 AUTOMOTIVE                                                     Contingent
          1460 ILLINOIS STREET                                                  Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.32
          TECH-1 AUTOMOTIVE                                                     Contingent
          1460 ILLINOIS STREET                                                  Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $75.00
          TECH-1 AUTOMOTIVE                                                     Contingent
          1460 ILLINOIS STREET                                                  Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,170.62
          TECHCOLLECTIVE COOPERATIVE                                            Contingent
          101 CALIFORNIA ST.                                                    Unliquidated
          SUITE 2710                                                            Disputed
          SAN FRANCISCO, CA 94111
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/20/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $266.14
          THEBUYINGNETWORK.COM                                                  Contingent
          420 SO 96TH STREET, SUITE 3                                           Unliquidated
          SEATTLE, WA 98108                                                     Disputed
          Date(s) debt was incurred 3/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $918.69
          THRESHOLD DOCUMENTS                                                   Contingent
          810 N STATE STREET                                                    Unliquidated
          BELLINGHAM, WA 98225                                                  Disputed
          Date(s) debt was incurred 6/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,180.28
          TORCH & REGULATOR REPAIR CO.                                          Contingent
          2526 TACOMA AVE S                                                     Unliquidated
          TACOMA, WA 98402                                                      Disputed
          Date(s) debt was incurred 7/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 42 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 56 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,440.55
          TORK SYSTEMS                                                          Contingent
          3330 EVERGREEN AVE                                                    Unliquidated
          JACKSONVILLE, FL 32206                                                Disputed
          Date(s) debt was incurred 9/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $43,776.00
          TRADESMEN INTERNATIONAL, LLC                                          Contingent
          910 SW Spokane Street                                                 Unliquidated
          Seattle, WA 98134                                                     Disputed
          Date(s) debt was incurred 5/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,000.00
          TRUTINA FINANCIAL                                                     Contingent
          10811 MAIN ST                                                         Unliquidated
          BELLEVUE, WA 98004                                                    Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $98.59
          ULINE                                                                 Contingent
          PO BOX 88741                                                          Unliquidated
          CHICAGO, IL 60680-1741                                                Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,094.42
          UNIFIRST                                                              Contingent
          1025 N LEVEE ROAD                                                     Unliquidated
          PUYALLUP, WA 98371                                                    Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $130,090.48
          UNITED RENTALS                                                        Contingent
          123 LOOMIS ST                                                         Unliquidated
          SAN FRANCISCO, CA 94124                                               Disputed
          Date(s) debt was incurred 2/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,063.89
          UNITED SITE SERVICES                                                  Contingent
          PO BOX 53267                                                          Unliquidated
          PHOENIX, AZ 85072                                                     Disputed
          Date(s) debt was incurred 1/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 43 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 57 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,365.00
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $223.65
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $278.03
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $3.71
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 11/18/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $704.79
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 44 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 58 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 9/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,872.79
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 8/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $625.29
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 8/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,324.13
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 7/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 7/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,999.38
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 45 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 59 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $489.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $544.13
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 3/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,470.32
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $883.50
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 3/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $232.78
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 2/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $944.88
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 2/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 46 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 60 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,557.32
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 2/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $496.13
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $658.56
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 1/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,560.63
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 1/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $301.75
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 12/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $409.38
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 11/30/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 47 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 61 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 10/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,187.19
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 10/7/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $271.57
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 9/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,506.25
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 9/11/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,759.38
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 8/13/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $524.30
          United Site Svc of CA, Inc                                            Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 7/20/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80,636.00
          UNITED WESTERN SUPPLY                                                 Contingent
          5245 E MARGINAL WAY                                                   Unliquidated
          SEATTLE, WA 98134                                                     Disputed
          Date(s) debt was incurred 1/5/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 48 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 62 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $323.96
          UPS                                                                   Contingent
          PO BOX 361595                                                         Unliquidated
          COLUMBUS, OH 43236                                                    Disputed
          Date(s) debt was incurred 5/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $274.79
          UPS                                                                   Contingent
          PO BOX 894820                                                         Unliquidated
          LOS ANGELES, CA 90189                                                 Disputed
          Date(s) debt was incurred 9/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,065.00
          USE W&O SUPPLY                                                        Contingent
          PO BOX 933067                                                         Unliquidated
          ATLANTA, GA 31193-3067                                                Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $705.94
          Utd Site Services of CA, Inc                                          Contingent
          PO Box 53267                                                          Unliquidated
          Phoenix, AZ 85072-3267                                                Disputed
          Date(s) debt was incurred 1/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,895.37
          VALLEY OIL COMPANY                                                    Contingent
          PO BOX 1655                                                           Unliquidated
          MOUNTAIN VIEW, CA 94042                                               Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,065.00
          VALVE AUTOMATION & CONTROLS                                           Contingent
          PO BOX 933067                                                         Unliquidated
          ATLANTA, GA 98680-0848                                                Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,281.05
          VERIZON WIRELESS                                                      Contingent
          PO BOX 660108                                                         Unliquidated
          DALLAS, TX 75266-0108                                                 Disputed
          Date(s) debt was incurred 9/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 49 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 63 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                  Contingent
          2401 N. Glassell Street                                               Unliquidated
          Los ANGELES, CA 90074                                                 Disputed
          Date(s) debt was incurred 2/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                  Contingent
          2401 N. Glassell Street                                               Unliquidated
          Los ANGELES, CA 90074                                                 Disputed
          Date(s) debt was incurred 2/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                  Contingent
          2401 N. Glassell Street                                               Unliquidated
          Orange, CA 92865                                                      Disputed
          Date(s) debt was incurred 1/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,744.00
          VOLT MANAGEMENT CORP                                                  Contingent
          PO BOX 679307                                                         Unliquidated
          DALLAS, TX 75267-9307                                                 Disputed
          Date(s) debt was incurred 2/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,193.75
          W&O SUPPLY                                                            Contingent
          PO BOX 933067                                                         Unliquidated
          ATLANTA, GA 31193                                                     Disputed
          Date(s) debt was incurred      8/4/2017                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $64,025.00
          WALASHEK INDUSTRIAL AND MARINE                                        Contingent
          6410 S 143RD ST                                                       Unliquidated
          TUKWILA, WA 98168                                                     Disputed
          Date(s) debt was incurred 2/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $410,101.73
          WARTSILA DEFENSE, INC                                                 Contingent
          3617 KOPPENS WAY                                                      Unliquidated
          CHESAPEAKE, VA 23323                                                  Disputed
          Date(s) debt was incurred 2/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 50 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 64 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,867.00
          WATER WEIGHTS                                                         Contingent
          470 SATELLITE BLVD STE K                                              Unliquidated
          PO BOX 2286                                                           Disputed
          SUWANEE, GA 30024
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,574.00
          WCR INCORPORATED                                                      Contingent
          2377 COMMERCE CENTER BLVD.                                            Unliquidated
          SUITE B                                                               Disputed
          FAIRBURN, OH 95324
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/10/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,542.59
          WEST COAST MARINE CHEMISTS INC                                        Contingent
          PO BOX 2562                                                           Unliquidated
          ALAMEDA, CA 94501                                                     Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,950.37
          WEST COAST WIRE ROPE & RIGGING                                        Contingent
          2900 NW 29TH AVE                                                      Unliquidated
          PORTLAND, OR 97210                                                    Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,589.00
          West Conf. of Teamsters Pen.
          Teamsters Local #2785                                                 Contingent
          1000 Marina Blvd                                                      Unliquidated
          Suite 400                                                             Disputed
          Brisbane, CA 94005-1841
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,245.12
          WEST MARINE PRO                                                       Contingent
          PO BOX 50060                                                          Unliquidated
          Watsonville, CA 95077                                                 Disputed
          Date(s) debt was incurred 12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,225.00
          WESTAR MARINE SERVICES                                                Contingent
          PO BOX 78100                                                          Unliquidated
          SAN FRANCISCO, CA 94107-9991                                          Disputed
          Date(s) debt was incurred 3/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 51 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 65 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,914.04
          WESTERN PACIFIC CRANE                                                 Contingent
          19602 60TH AVE NE                                                     Unliquidated
          ARLINGTON, WA 98223                                                   Disputed
          Date(s) debt was incurred 7/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,600.00
          WILSON WALTON INT'L INC.                                              Contingent
          3349 ROUTE 138                                                        Unliquidated
          BLDG C, SUITE E                                                       Disputed
          WALL, NJ 07719
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/17/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,567.15
          WILSON WALTON INT'L, INC                                              Contingent
          3349 ROUTE 138, BLDG C, STE E                                         Unliquidated
          E WALL, NJ 07719                                                      Disputed
          Date(s) debt was incurred 11/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,670.00
          WILSON WALTON INT'L, INC                                              Contingent
          3349 ROUTE 138, BLDG C                                                Unliquidated
          E WALL, NJ 07719                                                      Disputed
          Date(s) debt was incurred 11/19/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,200.56
          WOOD'S LOGGING SUPPLY                                                 Contingent
          PO BOX K                                                              Unliquidated
          LONGVIEW, WA 98632                                                    Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $391.68
          WORLD ENV & ENERGY                                                    Contingent
          PO BOX 256                                                            Unliquidated
          W SACREMENTO, CA 95691                                                Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $391.68
          World Enviro & Energy, Inc                                            Contingent
          PO Box 256                                                            Unliquidated
          West Sacramento, CA 95691                                             Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 52 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 66 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                         Case number (if known)
              Name

 3.362     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $61,382.50
           WORLDWIDE DIESEL POWER INC.                                          Contingent
           732 PARKER ST                                                        Unliquidated
           JACKSONVILLE, FL 32202                                               Disputed
           Date(s) debt was incurred 8/24/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $119.70
           XPOLOGISTICS                                                         Contingent
           PO BOX 5160                                                          Unliquidated
           PORTLAND, OR 97208                                                   Disputed
           Date(s) debt was incurred 10/11/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $151.33
           XPOLOGISTICS                                                         Contingent
           PO BOX 5160                                                          Unliquidated
           PORTLAND, OR 97208                                                   Disputed
           Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $956.67
           XPOLOGISTICS                                                         Contingent
           PO BOX 5160                                                          Unliquidated
           PORTLAND, OR 97208                                                   Disputed
           Date(s) debt was incurred 6/24/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $365.30
           XPOLOGISTICS                                                         Contingent
           PO BOX 5160                                                          Unliquidated
           PORTLAND, OR 97208                                                   Disputed
           Date(s) debt was incurred 4/29/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $406.53
           ZORO TOOLS                                                           Contingent
           909 ASBURY DRIVE                                                     Unliquidated
           BUFFALO GROVE, IL 60089                                              Disputed
           Date(s) debt was incurred 8/4/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 53 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18              Ent. 04/17/18 16:20:19                            Pg. 67 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                     Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            8,031,829.53

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              8,031,829.53




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 54 of 54
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18          Ent. 04/17/18 16:20:19           Pg. 68 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.1.        State what the contract or                   The Debtor leases a
             lease is for and the nature of               shipyard from the Port
             the debtor's interest                        of San Fransisco. The
                                                          Debtor ceased
                                                          operations in May 2017
                                                          which put Debtor in
                                                          default on the lease. It
                                                          is not clear at this time
                                                          if the lease has been
                                                          terminated.
                  State the term remaining
                                                                                          Port of San Francisco
             List the contract number of any                                              PO Box 7862
                   government contract                                                    San Francisco, CA 94120




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18         Ent. 04/17/18 16:20:19            Pg. 69 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy



             Case 18-41350-BDL                          Doc 1        Filed 04/17/18     Ent. 04/17/18 16:20:19            Pg. 70 of 111
 Fill in this information to identify the case:

 Debtor name         San Francisco Ship Repair, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $64,808,949.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19                 Pg. 71 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                           Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Frederick Judice vs BAE                           Civil                      San Francisco County                         Pending
               Systems San Francisco Ship                                                   Superior Court                               On appeal
               Repair Inc.,                                                                 400 McAllister Street
                                                                                                                                         Concluded
               CGC16555608                                                                  San Francisco, CA 94102

       7.2.    Frankie Antoine vs BAE                            Civil                      US District Court - Northern                 Pending
               Systems, Inc, et al.                                                         District CA                                  On appeal
               17CV02231SBA                                                                 450 Golden Gate Avenue
                                                                                                                                         Concluded
                                                                                            San Francisco, CA 94102

       7.3.    Puglia Engineering, Inc., v.                      Civil                      Superior Court of State of                   Pending
               BAE Systems Ship Repair                                                      CA                                           On appeal
               Inc.; BAE Systems San                                                        400 McAllister Street
                                                                                                                                         Concluded
               Francisco Ship Repair Inc.;                                                  San Francisco, CA 94102
               BAE Systems, Inc.; City and
               County of San Francisco
               CGC-17-557087

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



              Case 18-41350-BDL                        Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19                    Pg. 72 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                                Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                       Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1           Filed 04/17/18             Ent. 04/17/18 16:20:19                  Pg. 73 of 111
 Debtor       San Francisco Ship Repair, Inc.                                                           Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1                                                      Puglia Engineering, Inc., purchased the
       .                                                         debtor's stock effective January 1, 2017.
                                                                 After this transaction, the debtor
                                                                 transferrred approximately $3,000,000 in
                                                                 cash and $750,000 in accounts receivable
                                                                 to Puglia. Puglia, in turn, paid the
                                                                 debtor's payroll and many of its accounts
               Puglia Engineering, Inc.                          payable. The exact amount of payments
               201 Harris Ave                                    that Puglia made on behalf of the debtor
               Bellingham, WA 98225                              is not currently known.                                 January, 2017             $3,750,000.00

               Relationship to debtor
               Parent


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



              Case 18-41350-BDL                        Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19                Pg. 74 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                            Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       City Storage of San Fransisco                                 None                                 Employee files                          No
       500 Indiana Street                                                                                                                         Yes
       San Francisco, CA 94107



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19              Pg. 75 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                            Case number (if known)



       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Scott Hendrickson
                    CFO of Puglia Engineering, Inc.
                    201 Harris Ave
                    Bellingham, WA 98225

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Puglia Engineering Inc.
                    201 Harris Ave
                    Bellingham, WA 98225

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19                    Pg. 76 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                            Case number (if known)



       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Puglia Engineering Inc.                        201 Harris Avenue                                   Equity Interest Holder                 100
                                                      Bellingham, WA 98225

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Neil Turney                                                                                        President




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates               Reason for
                                                                 property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    BAE Systems                                                                                                EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19                 Pg. 77 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                            Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Boilermaker-Blacksmith National Pension Trust; Marine Carpenters                                           EIN:
    Pension Fund; IBEW Pacific Coast Pension Fund;
    Pacific Coast Shipyards Pension Fund; I.A.M. Natonal Pension Fund;
    Operating Engineers Trust Fund for California;
    Western Conference of Teamsters Pension Trust Fund




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19               Pg. 78 of 111
 Debtor      San Francisco Ship Repair, Inc.                                                            Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 17, 2018

 /s/ Neil Turney                                                        Neil Turney
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1         Filed 04/17/18            Ent. 04/17/18 16:20:19            Pg. 79 of 111
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re       San Francisco Ship Repair, Inc.                                                                    Case No.
                                                                                     Debtor(s)                  Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                     0.00
             Prior to the filing of this statement I have received                                          $                     0.00
             Balance Due                                                                                    $                     0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Filing fee paid by Puglia Engineering California Inc.

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Puglia Engineering, Inc.

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       b. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       c. [Other provisions as needed]
               Moving for consolidation with Puglia Engineering Inc./ Moving for Approval of Settlement Agreement.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 17, 2018                                                                 /s/ Steven J Reilly WSBA
     Date                                                                           Steven J Reilly WSBA #44306
                                                                                    Signature of Attorney
                                                                                    The Tracy Law Group PLLC
                                                                                    720 Olive Way #1000
                                                                                    Seattle, WA 98101
                                                                                    206-624-9894 Fax: 206-624-8598
                                                                                    Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1          Filed 04/17/18        Ent. 04/17/18 16:20:19            Pg. 80 of 111
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      San Francisco Ship Repair, Inc.                                                                           Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Puglia Engineering Inc.                                                              98,848                                     Shares
 201 Harris Ave
 Bellingham, WA 98225


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 17, 2018                                                          Signature /s/ Neil Turney
                                                                                            Neil Turney

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




             Case 18-41350-BDL                         Doc 1          Filed 04/17/18         Ent. 04/17/18 16:20:19                    Pg. 81 of 111
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      San Francisco Ship Repair, Inc.                                                              Case No.
                                                                                    Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 17, 2018                                              /s/ Neil Turney
                                                                         Neil Turney/President
                                                                         Signer/Title




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



             Case 18-41350-BDL                         Doc 1          Filed 04/17/18       Ent. 04/17/18 16:20:19    Pg. 82 of 111
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        ABATIX
                        PO BOX 671202
                        DALLAS, TX 75267


                        ABATIX CORP
                        PO BOX 671202
                        DALLAS, TX 75267-1202


                        ABS AMERICAS
                        5950 6TH AVE S SUITE 204
                        SEATTLE, WA 98108


                        ACTION CLEANING CORP
                        1668 NEWTON AVE
                        SAN DIEGO, CA 92113


                        AD. CHEMICAL TRANSPORT INC.
                        1210 ELKO DRIVE
                        SUNNYVALE, CA 94089


                        ADVANCED CHEMICAL
                        TRANSPORT INC.
                        1210 ELKO DRIVE
                        SUNNYVALE, CA 94089


                        ADVANTEC MANUFACTURING USA
                        28336 HUNTER CREEK ROAD
                        GOLD BEACH, OR 97444


                        AGGREKO LLC
                        PO BOX 972562
                        DALLAS, TX 75397-2562


                        AGGREKO, LLC
                        PO BOX 972562
                        DALLAS, TX 75397


                        AIRGAS USA, LLC
                        PO BOX 7423
                        PASADENA, CA 91109-7423


                        ALAMEDA COMMERCIAL PROPERTIES
                        2900 MAIN ST
                        ALAMEDA, CA 94501



    Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 83 of 111
                    ALAMEDA ELECTRICAL DISTRIBUTOR
                    2420 BLANDING AVE
                    ALAMEDA, CA 94501


                    ALARMGUARD SECURITY SYSTEMS
                    ALARM CENTER, INC
                    PO BOX 3407
                    LACEY, WA 98509-3407


                    ALASKAN COPPER & BRASS CO
                    PO BOX 749791
                    LOS ANGELES, CA 90074-9791


                    ALBANY STEEL, INC
                    536 CLEVELAND AVE
                    ALBANY, CA 94710-1007


                    ALL BAY MILL & LUMBER CO
                    405 GREEN ISLAND RD
                    AMERICAN CANYON, CA 94503-9649


                    ALLIANCE
                    PO BOX 23804
                    OAKLAND, CA 94623


                    ALLIANCE GAS PRODUCTS
                    DBA ALLIANCE WELDING SUPPLIES
                    PO BOX 23804
                    OAKLAND, CA 94623


                    ALLIED BARTON SECURITY SERVICE
                    161 WASHINGTON ST., SUITE 600
                    EIGHT TOWER BRIDGE
                    CONSHOCKEN, PA 19428


                    ALLIED ELECTRONICS INC
                    7151 JACK NEWELL BLVD S
                    FORT WORTH, TX 76118


                    ALLIED UNIVERSAL SECURITY SERV
                    161 WASHINGTON STREET
                    SUITE 600
                    CONSHOHOCKEN, PA 19428




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 84 of 111
                    AMCLYDE
                    240 E PALTO BLVD
                    ST PAUL, MN 55107


                    AMERGENT
                    3553 ATLANTIC AVE, STE A158
                    LONG BEACH, CA 90807


                    AMERICAN ARBITRATION
                    120 BROADWAY
                    21ST FLOOR
                    NEW YORK, NY 10271


                    AMERICAN METAL BEARING CO
                    7191 ACACIA AVE
                    GARDEN GROVE, CA 92841-3907


                    AMERICAN TEXTILE & SUPPLY
                    PO BOX 7000
                    SAN PABLO, CA 94806-7000


                    AMERICAN VULKAN CORPORATION
                    2525 DUNDEE ROAD
                    WINTER HAVEN, FL 33884


                    AMEX
                    PO BOX 650448
                    DALLAS, TX 75265-0448


                    AMNAV
                    PO BOX 6578
                    CAROL STREAM, IL 60197


                    AMNAV
                    201 BURMA RD
                    RD OAKLAND, CA 94607


                    AMNAV MARITIME
                    #4945755304
                    201 BURMA ROAD
                    OAKLAND, CA 94607


                    AMNAV MARITIME CORPORATION
                    201 BURMA ROAD
                    OAKLAND, CA 94607


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 85 of 111
                    ANCHOR QEA, LLC
                    720 OLIVE WAY
                    SUITE 1900
                    SEATTLE, WA 98101


                    APPLETON MARINE, INC.
                    3030 E PERSHING ST
                    APPLETON, WI 54911-8671


                    APPLIED INDUSTRIAL TECH
                    P.O. BOX 100538
                    PASADENA, CA 91189


                    ARAMARK
                    PO BOX 101179
                    PASADENA, CA 91189


                    ARAMARK REFRESHMENT SERVICES
                    41460 CHRISTY ST
                    FREMONT, CA 94538


                    ARC DOCUMENT SOLUTIONS LLC
                    PO BOX 192224
                    SAN FRANCISCO, CA 94119-2224


                    ARCHIE MCFAUL COMPASS ADJUSTER
                    202 REDONDO DRIVE
                    PITTSBURG, CA 94565-5931


                    AT&T
                    PO BOX 5025
                    CAROL STREAM, IL 60197-5025


                    AVALON LOGO WEAR
                    25182 KERRI LN
                    RAMONA, CA 92065-4741


                    BAE SYSTEMS SHIP REPAIR INC.
                    ATTN: IAN T. GRAHAM
                    1101 WILSON BLVD., SUITE 2000
                    ARLINGTON, VA 22209




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 86 of 111
                    BAUER MOYNIHAN
                    2101 FOURTH ST
                    SUITE 2400
                    SEATTLE, WA 98121


                    BAY PROPELLER
                    2900 MAIN ST
                    SUITE 2100
                    ALAMEDA, CA 94501-7739


                    BAY SHRED
                    PO BOX 131681
                    CARLSBAD, CA 92013


                    BECK ELECTRIC SUPPLY
                    2775 GOODRICK AVE
                    RICHMOND, CA 94801


                    BIG DOG CITY CORP
                    2060 NEWCOMB AVE
                    SAN FRANCISCO, CA 94124


                    BIG DOG CITY CORPORATION
                    2060 NEWCOMB AVENUE
                    SAN FRANCISCO, CA 94124


                    BIRCH EQUIPMENT RENTAL & SALES
                    PO BOX 30918
                    BELLINGHAM, WA 98228


                    BLACK & DECKER (U.S.) INC
                    DEPT CH 14231
                    PALATINE, IL 60055-4231


                    BOA OLD BAE CHARGES
                    100 N. TYRON STREET
                    CHARLOTTE, NC 28255


                    BOILERMAKER-BLACKSMITH
                    IBB LOCAL #549
                    754 MINNESOTA AVENUE
                    KANSAS CITY, KS 66101-2766




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 87 of 111
                    BRADLEY'S PLASTIC BAG CO.
                    9130 FIRESTONE BLVD
                    DOWNEY, CA 90241-5319


                    BRIDGEWELL RESOURCES
                    #0228618001
                    PO BOX 23372
                    TIGARD, OR 97281


                    BRUCE S. ROSENBLATT & ASSOC.
                    2201 BDWY
                    SUITE 504
                    OAKLAND, CA 94612-3068


                    BUSINESS PRINTING COMPANY, INC
                    PO BOX 19786
                    1965 GILLESPIE WAY #103
                    EL CAJON, CA 92020


                    C-MAP NORWAY AS
                    PO BOX 212 4379
                    EGERSUND FRANCISCO, NORWAY


                    CALCO FENCE, INC
                    4568 CONTRACTORS PL
                    LIVERMORE, CA 94551-4805


                    CALIFORNIA SERVICE TOOL, INC
                    3875 BAY CENTER PL
                    HAYWARD, CA 94545


                    CARPENTER RIGGING & SUPPLY
                    222 NAPOLEON STREET
                    SAN FRANCISCO, CA 94124


                    CARTER LEDYARD & MILBURN LLP
                    2 WALL ST
                    NEW YORK, NY 10005


                    CASCADE ENGINEERING SERVICES,
                    6640 185TH AVE NE
                    REDMOND, WA 98052




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 88 of 111
                    CASCADE NATURAL GAS
                    PO BOX 990065
                    BOISE, ID 83799


                    CASCADE NATURAL GAS
                    PO BOX 5600
                    BISMARK, ND 58506


                    CDTFA (BOE)
                    PO BOX 942879
                    450 N STREET
                    SACREMENTO, CA 94279


                    CENTER HARDWARE COMPANY, INC
                    3003 THIRD STREET
                    SAN FRANCISCO, CA 94107-2500


                    CENTURYLINK
                    PO BOX 91155
                    SEATTLE, WA 98111


                    CHARTER INDUSTRIAL SUPPLY
                    7832 OSTROW ST
                    SAN DIEGO, CA 92111


                    CINCINNATI INC.
                    PO BOX 44719
                    MADISON, WI 53744-4719


                    CINTAS
                    7700 BENT BRANCH DR.
                    STE 130
                    STE IRVING, TX 75063


                    CINTAS CORPORATION
                    7700 BENT BRANCH DRIVE
                    STE 130
                    IRVING, TX 75063


                    CLEAN HARBORS ENVIRONMENTAL SE
                    PO BOX 3442
                    BOSTON, MA 02241-3442




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 89 of 111
                    CLICK NETWORK
                    PO BOX 11625
                    TACOMA, WA 98411


                    CLYDE & CO.
                    RE: PRINCESS CRUISE LINES
                    101 SECOND STREET
                    24TH FLOOR
                    SAN FRANCISCO, CA 94105


                    COAST CRANE COMPANY
                    DEPT 33655
                    PO BOX 39000
                    SAN FRANCISCO, CA 94139


                    COAST MARINE & IND SUPPLY
                    1480 BANCROFT AVENUE
                    SAN FRANCISCO, CA 94124


                    COAST PRODUCTS INC.
                    954 ELLIOT AVE. WEST
                    SEATTLE, WA 98119


                    COLUMBIA-SENTINEL ENGINEERS
                    4000 DELDRIDGE WAY SW STE 300
                    SEATTLE, WA 98106


                    COMPASS WATER SOLUTIONS INC
                    15542 MOSHER AVE
                    TUSTIN, CA 92780


                    CONCENTRA
                    PO BOX 3700
                    RANCHO CUCAMONGA, CA 91729


                    CONTROLLED DEHUMIDIFICATION
                    5931 FORD COURT
                    BRIGHTON, MI 48116


                    COPY WRIGHTS
                    5715 PACIFIC HWY E
                    TACOMA, WA 98424




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 90 of 111
                    CSI PAINT
                    257 WALNUT ST
                    NAPA, CA 94559


                    CT CORPORATION
                    PO BOX 4349
                    CAROL STREAM, IL 60197


                    CUSTOM SHIP INTERIORS, INC
                    PO BOX 882
                    SOLOMONS, MD 20688


                    DESIGN SPACE
                    PO BOX 31001
                    PASADENA, CA 91110


                    DESIGN SPACE MODULAR BLDGS
                    2725 FITZGERALD DR.
                    DIXON, CA 95260


                    DHL
                    16592 COLLECTIONS CENTER DR
                    CHICAGO, IL 60693


                    DIABLO TROPHIES & AWARDS
                    1922 CONTRA COSTA BLVD
                    PLEASANT HILL, CA 94523


                    DIMENSIONAL SILK SCREEN
                    3750 DALBERGIA ST
                    SAN DIEGO, CA 92113


                    DIRECT TV
                    PO BOX 105249
                    ATLANTA, GA 30348-5249


                    DISTRIBUTION INTERNATIONAL
                    9000 RAILWOOD DR
                    HOUSTON, TX 77078


                    DMV
                    1377 FELL STREET
                    SAN FRANCISCO, CA 94117




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 91 of 111
                    DRS MARINE INC
                    525 CHESTNUT ST
                    VALLEJO, CA 94590


                    EDGE INSPECTION GROUP, INC
                    4576 E 2ND ST
                    SUITE C
                    BENICIA, CA 94510


                    ELLIOTT BAY DESIGN GROUP
                    5305 SHILSHOLE AVE NW
                    SUITE 100
                    SEATTLE, WA 98107


                    EMERALD SERVICES, INC
                    2600 NORTH CENTRAL EXPRESSWAY
                    SUITE 200
                    RICHARDSON, TX 75080


                    EMPLOYMENT DEVELOPENT DEPT
                    745 FRANKLIN STREET
                    SUITE 400
                    SAN FRANCISCO, CA 94102


                    ENVIRONMENTAL RECOVERY SERVICE
                    13940 LIVE OAK AVE
                    BALDWIN PARK, CA 91706


                    ENVIROSERV
                    13940 LIVE OAK AVENUE
                    BALDWIN PARK, CA 91706


                    EVOQUA



                    EVOQUA
                    28563 NETWORK PL
                    CHICAGO, IL 60673


                    EVOQUA WATER TECHNOLOGIES LLC
                    2 MILLTOWN CT.
                    UNION, NJ 07083




Case 18-41350-BDL   Doc 1    Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 92 of 111
                    EXPRESS SUPPLY AND STEEL, LLC
                    PO BOX 189
                    RACELAND, LA 70394-0189


                    FAIRBANKS MORSE ENGINE
                    7824 COLLECTION CENTER DR
                    CHICAGO, IL 60693


                    FAIRLEAD INTEGRATED POWER
                    912 VENTURES WAY
                    CHESAPEAKE, VA 23320


                    FARWEST STEEL CORPORATION
                    PO BOX 1026
                    EUGENE, OR 97440


                    FASSMER SERVICES AMERICA, LLC
                    3650 NW 15TH ST
                    LAUDERHILL, FL 33311


                    FEDEX
                    PO BOX 94515
                    PALATINE, IL 60094-4515


                    FEDEX FREIGHT
                    PO BOX 223125
                    PITTSBURGH, PA 15251-2125


                    FLEET PRIDE
                    PO BOX 847118
                    DALLAS, TX 75284-7118


                    FLUKE ELECTRONICS
                    PO BOX 9090
                    EVERETT, WA 98206-9090


                    FOLEY & MANSFIELD
                    250 MARQUETTE AVE
                    SUITE 1200
                    MINNEAPOLIS, MN 55401


                    FRANCISCAN OCCUPATIONAL HEALTH
                    PORT CLINIC
                    PO BOX 31001-1553
                    PASADENA, CA 91110


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 93 of 111
                    GAHAGAN & BRYANT ASSOC., INC.
                    600 MARTIN AVENUE
                    SUITE 200
                    ROHNERT PARK, CA 94928


                    GARDCO PAUL N. GARDNER CO.          IN
                    316 NE FIRST STREET
                    POMPANO BEACH, FL 33060


                    GILLS ELECTRIC
                    2410 WEBSTER ST
                    OAKLAND, CA 94612


                    GPA VALUATION
                    7522 28TH ST ST WEST
                    UNIVERSITY PLACE, WA 98466


                    GRAINGER
                    DEPT. 825105745
                    PO BOX 419267
                    KANSAS CITY, MO 64141-6267


                    GRANTHAM ENGINEERING
                    7807 HILLANDALE DR
                    SAN DIEGO, CA 92120-1508


                    GREEN MARINE
                    111 CENTRAL AVE
                    METARIE, LA 70001


                    GRISWOLD INDUSTRIES DBA CLA-VA
                    PO BOX 1325
                    NEWPORT BEACH, CA 92659


                    GUARDIAN SECURITY
                    1743 1ST AVE S
                    SEATTLE, WA 98134


                    HANSON BRIDGETT
                    425 MARKET ST
                    26TH FLOOR
                    SAN FRANCISCO, CA 94105




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 94 of 111
                    HARBOR ISLAND SUPPLY
                    230 S CHICAGO ST
                    SEATTLE, WA 98108


                    HARDWARE SPECIALTY CO INC
                    3419 11TH AVE SW
                    SEATTLE, WA 98134


                    HART HEALTH
                    PO BOX 94044
                    SEATTLE, WA 98124


                    HAWKEYE PHOTOGRAPHY
                    PO BOX 449
                    SANTA CLARA, CA 95052


                    HEGER DRY DOCK INC.
                    531 CONCORD ST
                    HOLLISTON, MA 01746


                    HELWIG CARBON PRODUCTS, INC
                    8900 W TOWER AVENUE
                    MILWAUKEE, WI 53224


                    HOLT OF CALIFORNIA
                    PO BOX 100001
                    SACRAMENTO, CA 95813


                    HOME DEPOT CREDIT CARD SERVICE
                    PO BOX 9001043
                    DEPT 32-2501611390
                    LOUISVILLE, KY 40290-1043


                    HUB INTERNATIONAL NORTHWEST
                    PO BOX 749672
                    LOS ANGELES, CA 90074-9672


                    HUBBELL ELECTRIC HEATER CO
                    PO BOX 288
                    SRATFORD, CT 06615-0288


                    HYDRALIFT AMCLYDE, INC
                    240 EAST PLATO BLVD
                    SAINT PAUL, MN 55107



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 95 of 111
                    IBEW PACIFIC COAST PEN FUND
                    IBEW LOCAL #6
                    5 THIRD STREET
                    SUITE 525
                    SAN FRANCISCO, CA 94103-3216


                    IMECO, INC
                    1401 CARPENTER AVE
                    IRON MOUNTAIN, MI 49801


                    INDCON
                    LOCKBOX 776046
                    CHICAGO, IL 60677


                    INDUSTRIAL CONTAINER SERVICE
                    749 GALLERIA BLVD
                    ROSEVILLE, CA 95678


                    INDUSTRIAL CONTAINER SERVICES
                    749 GALLERIA BLVD
                    ROSEVILLE, CA 95678


                    INDUSTRIAL SAFETY SUPPLY CORPO
                    PO BOX 8686
                    EMERYVILLE, CA 94662


                    INGENIUM GROUP LLC
                    2255 BARHAM DR
                    SUITE A
                    ESCONDIDO, CA 92029


                    INSTRUMART
                    35 GREEN MOUNTAIN DRIVE
                    SOUTH BURLINGTON, VT 05403


                    INT'L ASSOC. OF MACHINISTS
                    IAM LOCAL #1414
                    1300 CONNECTICUT AVENUE NW
                    SUITE 300
                    WASHINGTON, DC 20036-1711


                    INTEGRA
                    PO BOX 2966
                    MILWAUKEE, WI 53201




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 96 of 111
                    INTERNAL REVENUE SERVICE
                    PO BOX 37940
                    HARTFORD, CT 06176-7940


                    INTERNATIONAL PAINT, LLC
                    PO BOX 847202
                    DALLAS, TX 75284-7202


                    INVERTECH, INC.
                    1404 INDUSTRIAL DRIVE, SUITE 1
                    SALINE, MI 48176


                    IRON MOUNTAIN
                    1000 CAMPUS DR
                    COLLEGEVILLE, PA 19426


                    JACOBS
                    5161 ELLSWORTH ST
                    CHICAGO, CA 92110


                    JACOBS CONSULTING
                    5161 ELLSWORTH ST
                    SAN DIEGO, CA 92110


                    JDI ELECTRICAL SERVICES
                    624 COMMERCE CT
                    MANTECA, CA 95336


                    JEPPESEN INC.
                    225 W SANTA CLARA ST
                    SUITE 1600
                    SAN JOSE, CA 95113-1752


                    JOHNSTONE SUPPLY
                    2100 DABNEY RD
                    RICHMOND, VA 23230


                    JOTUN PAINTS, INC.
                    9203 HIGHWAY 23
                    BELLE CHASSE, LA 70037


                    KAMAN INDUSTRIAL TECHNOLOGIES
                    FILE 25356
                    LOS ANGELES, CA 90074-5356



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 97 of 111
                    KERN OIL FILTER RECYCLING, LLC
                    2355 RD
                    SUITE 192
                    DELANO, CA 93215


                    KLEEN BLAST
                    A DIVISION OF CANAM MINERALS
                    50 OAK COURT SUITE 210
                    DANVILLE, CA 94526


                    KLEEN BLAST ABRASIVES
                    50 OAK COURT, STE 210
                    STE DANVILLE, CA 94526


                    KOFFLER ELECTRICAL MECHANICAL
                    527 WHITNEY ST
                    SAN LEANDRO, CA 94577


                    KONICA MINOLTA
                    21719 NETWORK PL
                    CHICAGO, IL 60673-1217


                    LAW OFFICE OF BENJAMIN KELLY
                    RE: VOLT SERVICES CORP
                    9218 ROOSEVELT WAY NE
                    SEATTLE, WA 98115


                    LLOYDS REGISTER QUALITY ASSURA
                    PO BOX 301030
                    DALLAS, TX 75303-1030


                    MACKAY COMMUNICATIONS INC
                    PO BOX 60925
                    CHARLOTTE, NC 28260


                    MAN DIESEL
                    1600A BRITTMOORE RD
                    HOUSTON, TX 77043


                    MARCO
                    3425 EAST LOCUST ST
                    DAVENPORT, IA 52803




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 98 of 111
                    MARINE CARPENTERS PENSION FUND
                    UN. BROTHERHOOD OF CARP. LOCAL
                    PO BOX 2510
                    SAN RAMON, CA 94583


                    MARINE EXPRESS INC.
                    2102 KELLEY CT.
                    PITTSBURG, CA 94565


                    MARK MORRIS ASSOCIATES
                    907 7TH AVE NORTH
                    EDMONDS, WA 98020


                    MATHESON TRI-GAS INC
                    DEPT LA 23793
                    PASADENA, CA 91185


                    MATHESON TRI-GAS INC
                    DEPT 3028 PO BOX 123028
                    DALLAS, TX 75312


                    MATTHEWS MECHANICAL
                    33480 WESTERN AVE
                    UNION CITY, CA 94587


                    MCCAMPBELL ANALYTICAL, INC
                    1534 WILLOW PASS ROAD
                    PITTSBURG, CA 94565


                    MCCAMPBELL ANALYTICAL, INC.
                    1534 WILLOW PASS ROAD
                    PITTSBURG, CA 94565


                    MEDI
                    4814 E 2ND ST
                    BENICIA, CA 94510


                    MEDICAL ELECTRONIC DEVICES
                    4814 EAST SECOND ST
                    BENICIA, CA 94510


                    MISSION JANITORIAL & ABRASIVE
                    9292 ACTIVITY RD
                    SAN DIEGO, CA 92126-4425



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 99 of 111
                    MOBILE MODULAR MGMT CORP. MCGR
                    PO BOX 45043
                    SAN FRANCISCO, CA 94145-0043


                    MOBILE MODULAR PORTABLE STRG.
                    5700 LAS POSITAS ROAD
                    LIVERMORE, CA 94551


                    MONKEYBRAINS
                    286 12TH ST
                    SAN FRANCISCO, CA 94103


                    MOORE MEDICAL
                    PO BOX 99718
                    CHICAGO, IL 60696


                    MOTOR-SERVICES HUGO STAMP
                    3190 SW 4TH AVE
                    FT LAUDERDALE, FL 33315


                    MYRIAD INDUSTRIES
                    3454 E STREET
                    SAN DIEGO, CA 92102


                    NELSON FASTENER SYSTEM
                    7900 W RIDGE RD.
                    PO BOX 4019
                    ELYRIA, OH 44036


                    NEW PIG CORPORATION
                    ONE PORK AVE
                    TIPTON, PA 16684-0304


                    NORTH AMERICAN CRANE BUREAU
                    930 WILLISTON PARK POINT
                    LAKE MARY, FL 32746


                    OCCUPATIONAL HEALTH CENTERS
                    PO BOX 3700
                    RANCHO CUCAMONGA, CA 91729


                    OFFICE DEPOT
                    PO BOX 6403
                    SIOUX FALLS, SD 57117



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 100 of 111
                    OFFICE TEAM
                    PO BOX 743295
                    LOS ANGELES, CA 90074-3294


                    OIL RE-REFINING COMPANY, INC
                    4150 N SUTTLE RD
                    PORTLAND, OR 97217


                    ONECALL
                    PO BOX 206821
                    DALLAS, TX 75320


                    OPERATING ENGINEERS TRUST FUND
                    OE LOCAL #3
                    100 CORSON STREET
                    SUITE 100
                    PASADENA, CA 91103


                    PAC COAST SHIPYARDS PEN. FUND
                    SHEET METAL WORKERS LOCAL #104
                    PO BOX 2510
                    SAN RAMON, CA 94583


                    PAC COAST SHIPYARDS PEN. FUND
                    PAINTERS LOCAL #1176
                    PO BOX 2510
                    SAN RAMON, CA 94583


                    PAC COAST SHIPYARDS PEN. FUND
                    LABORER'S LOCAL #886
                    PO BOX 2510
                    SAN RAMON, CA 94583


                    PAC COAST SHIPYARDS PEN. FUND
                    UA LOCAL #38
                    PO BOX 2510
                    SAN RAMON, CA 94583


                    PACIFIC OFFICE AUTOMATION
                    PO BOX 41602
                    PHILADELPHIA, PA 19101-1602


                    PACIFIC RADAR
                    12310 HIGHWAY 99, SUITE 132
                    EVERETT, WA 98204-7556



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 101 of 111
                    PARK PRESIDIO
                    1300 A 25TH ST
                    SAN FRANCISCO, CA 94107


                    PATENAUDE & FELIX, LAW OFFICES
                    19401 40TH AVENUE WEST STE 280
                    LYNNWOOD, WA 98036


                    PCS
                    PO BOX 80455
                    LAS VEGAS, NV 89180


                    PDM
                    PO BOX 740965
                    LOS ANGELES, CA 90074


                    PHILIPS, ERLEWINE, GIVEN & CAR
                    39 MESA STREET, SUITE 201
                    THE PRESIDIO
                    SAN FRANCISCO, CA 94129


                    PITNEY BOWES
                    PO BOX 371887
                    PITTSBURGH, PA 15250


                    POGOZONE INTERNET SERVICES
                    PO BOX 974
                    LYNDEN, WA 98264


                    PORT OF SAN FRANCISCO
                    PO BOX 7862
                    SAN FRANCISCO, CA 94120-7862


                    PORT OF SAN FRANCISCO
                    PO BOX 7862
                    SAN FRANCISCO, CA 94120


                    PRAXAIR DISTRIBUTION INC.
                    PO BOX 120812
                    DEPT 0812
                    DALLAS, TX 75312


                    PRINCESS CRUISE LINES, LTD
                    24305 TOWN CENTER DRIVE
                    SANTA CLARITA, CA 91355


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 102 of 111
                    PROEST SOFTWARE, INC
                    17065 CAMINO SAN BERNARDO
                    SUITE 150
                    SAN DIEGO, CA 92127


                    PUMP TECH
                    12020 SE 32ND STREET
                    SUITE 2
                    BELLEVUE, WA 98005


                    QUILL.COM
                    PO BOX 37600
                    PHILADELPHIA, PA 19101-0600


                    R. STAHL, INC
                    13259 N PROMENADE BLVD
                    STAFFORD, TX 77477


                    RAINIER COLLECTION SERVICES
                    PO BOX 3622
                    BELLEVUE, WA 98009


                    RAINIER ENVIRONMENTAL LAB
                    5013 PACIFIC HWY
                    SUITE 20
                    FIFE, WA 98424


                    RAPID PREP LLC - WA
                    44 CROSS PARK AVE
                    NORTH KINGSTON, RI 02852


                    RAYMOND HANDLING CONCEPTS
                    41400 BOYCE ROAD
                    FREMONT, CA 94538


                    READY REFRESH
                    PO BOX 856158
                    LOUISVILLE, KY 40285


                    READY REFRESH
                    PO BOX 856158
                    LOUISVILLE, KY 40285-6158




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 103 of 111
                    RECOLOGY SUNSET SCAVENGER
                    RECOLOGY GOLDEN GATE
                    250 EXECUTIVE PARK, SUITE 2100
                    SAN FRANCISCO, CA 94134-3306


                    RELIANCE METAL CENTER
                    PO BOX 748591
                    LOS ANGELES, CA 90074-8554


                    RELIANT WATER MANAGEMENT
                    1001 BAYHILL DR
                    2ND FLOOR
                    SAN BRUNO, CA 94066


                    S.D. MEYERS, LLC
                    180 SOUTH AVE
                    TALLMADGE, OH 44278


                    SAFE-ENTRY TECHNICAL, INC
                    9300 SANTA ANITA AVE
                    SUITE 105
                    RANCHO CUCAMONGA, CA 91730


                    SAFETY-KLEEN
                    PO BOX 7170
                    PASADENA, CA 91109-7170


                    SAFWAY
                    1660 GILBRETH RD
                    BURLINGAME, CA 94010


                    SAFWAY SERVICES, LLC
                    1660 GILBRETH RD
                    BURLINGAME, CA 94010


                    SAN FRANCISCO TAX COLLECTOR
                    1 DR CARLTON B GOODLETT PL
                    ROOM 140
                    CITY HALL
                    SAN FRANCISCO, CA 94102


                    SAN FRANCISCO WATER POWER SEWE
                    ATTN: CSB, RETAIL ELECTRIC
                    525 GOLDEN GATE AVE, 3RD FLOOR
                    SAN FRANCISCO, CA 94102



Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 104 of 111
                    SCHRADER & SON, LLC
                    2170 C COMMERCE AVE
                    CONCORD, CA 94520


                    SEACOAST ELECTRIC CO.
                    PO BOX 98059
                    CHICAGO, IL 60693


                    SF BAR PILOTS
                    PIER 9 EAST END
                    SAN FRANCISCO, CA 94111


                    SF PUBLIC UTILITIES COMMISSIO
                    #60DRG60D-01
                    1390 MARKET STREET, 7TH FLOOR
                    SAN FRANCISCO, CA 94102-5408


                    SGS HERGUTH LABORATORIES, INC.
                    PO BOX 2502
                    CAROL STREAM, IL 60132-2502


                    SIMPLEX AMERICAS LLC
                    20 BARTLES CORNER ROAD
                    FLEMINGTON, NJ 08822-5717


                    SMITH FIRE SYSTEMS INC
                    1106 54TH AVE E
                    TACOMA, WA 98424


                    SOLID WASTE MANAGEMENT
                    3510 SOUTH MULLEN ST
                    TACOMA, WA 98409


                    SPERRY MARINE A UNIT OF NORTH
                    1865 INDUSTRIAL BLVD
                    NORTHROP GRUMMAN SPERRY MARINE
                    HARVEY, LA 70058


                    SPRINT
                    PO BOX 219100
                    KANSAS CITY, MO 64121-9100


                    STELLAR INDUSTRIAL SUPPLY
                    711 E 11TH STREET
                    TACOMA, WA 98421


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 105 of 111
                    STREICH BROTHERS, INC.
                    1650 MARINE VIEW DRIVE
                    TACOMA, WA 98422


                    STUD WELDING PRODUCTS
                    PO BOX 68887
                    SEATTLE, WA 98168


                    SUMMIT LAW GROUP PLLC
                    315 FIFTH AVENUE SOUTH
                    SUITE 1000
                    SEATTLE, WA 98104-2682


                    TECH-1 AUTOMOTIVE
                    1460 ILLINOIS STREET
                    SAN FRANCISCO, CA 94107


                    TECHCOLLECTIVE COOPERATIVE
                    101 CALIFORNIA ST.
                    SUITE 2710
                    SAN FRANCISCO, CA 94111


                    THEBUYINGNETWORK.COM
                    420 SO 96TH STREET, SUITE 3
                    SEATTLE, WA 98108


                    THRESHOLD DOCUMENTS
                    810 N STATE STREET
                    BELLINGHAM, WA 98225


                    TORCH & REGULATOR REPAIR CO.
                    2526 TACOMA AVE S
                    TACOMA, WA 98402


                    TORK SYSTEMS
                    3330 EVERGREEN AVE
                    JACKSONVILLE, FL 32206


                    TRADESMEN INTERNATIONAL, LLC
                    910 SW SPOKANE STREET
                    SEATTLE, WA 98134


                    TRUTINA FINANCIAL
                    10811 MAIN ST
                    BELLEVUE, WA 98004


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 106 of 111
                    ULINE
                    PO BOX 88741
                    CHICAGO, IL 60680-1741


                    UNIFIRST
                    1025 N LEVEE ROAD
                    PUYALLUP, WA 98371


                    UNITED RENTALS
                    123 LOOMIS ST
                    SAN FRANCISCO, CA 94124


                    UNITED SITE SERVICES
                    PO BOX 53267
                    PHOENIX, AZ 85072


                    UNITED SITE SVC OF CA, INC
                    PO BOX 53267
                    PHOENIX, AZ 85072-3267


                    UNITED WESTERN SUPPLY
                    5245 E MARGINAL WAY
                    SEATTLE, WA 98134


                    UPS
                    PO BOX 361595
                    COLUMBUS, OH 43236


                    UPS
                    PO BOX 894820
                    LOS ANGELES, CA 90189


                    USE W&O SUPPLY
                    PO BOX 933067
                    ATLANTA, GA 31193-3067


                    UTD SITE SERVICES OF CA, INC
                    PO BOX 53267
                    PHOENIX, AZ 85072-3267


                    VALLEY OIL COMPANY
                    PO BOX 1655
                    MOUNTAIN VIEW, CA 94042




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 107 of 111
                    VALVE AUTOMATION & CONTROLS
                    PO BOX 933067
                    ATLANTA, GA 98680-0848


                    VERIZON WIRELESS
                    PO BOX 660108
                    DALLAS, TX 75266-0108


                    VOLT
                    2401 N. GLASSELL STREET
                    LOS ANGELES, CA 90074


                    VOLT
                    2401 N. GLASSELL STREET
                    ORANGE, CA 92865


                    VOLT MANAGEMENT CORP
                    PO BOX 679307
                    DALLAS, TX 75267-9307


                    W&O SUPPLY
                    PO BOX 933067
                    ATLANTA, GA 31193


                    WALASHEK INDUSTRIAL AND MARINE
                    6410 S 143RD ST
                    TUKWILA, WA 98168


                    WARTSILA DEFENSE, INC
                    3617 KOPPENS WAY
                    CHESAPEAKE, VA 23323


                    WATER WEIGHTS
                    470 SATELLITE BLVD STE K
                    PO BOX 2286
                    SUWANEE, GA 30024


                    WCR INCORPORATED
                    2377 COMMERCE CENTER BLVD.
                    SUITE B
                    FAIRBURN, OH 95324


                    WEST COAST MARINE CHEMISTS INC
                    PO BOX 2562
                    ALAMEDA, CA 94501


Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 108 of 111
                    WEST COAST WIRE ROPE & RIGGING
                    2900 NW 29TH AVE
                    PORTLAND, OR 97210


                    WEST CONF. OF TEAMSTERS PEN.
                    TEAMSTERS LOCAL #2785
                    1000 MARINA BLVD
                    SUITE 400
                    BRISBANE, CA 94005-1841


                    WEST MARINE PRO
                    PO BOX 50060
                    WATSONVILLE, CA 95077


                    WESTAR MARINE SERVICES
                    PO BOX 78100
                    SAN FRANCISCO, CA 94107-9991


                    WESTERN PACIFIC CRANE
                    19602 60TH AVE NE
                    ARLINGTON, WA 98223


                    WILSON WALTON INT'L        INC.
                    3349 ROUTE 138
                    BLDG C, SUITE E
                    WALL, NJ 07719


                    WILSON WALTON INT'L, INC
                    3349 ROUTE 138, BLDG C, STE E
                    E WALL, NJ 07719


                    WILSON WALTON INT'L, INC
                    3349 ROUTE 138, BLDG C
                    E WALL, NJ 07719


                    WOOD'S LOGGING SUPPLY
                    PO BOX K
                    LONGVIEW, WA 98632


                    WORLD ENV & ENERGY
                    PO BOX 256
                    W SACREMENTO, CA 95691




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 109 of 111
                    WORLD ENVIRO & ENERGY, INC
                    PO BOX 256
                    WEST SACRAMENTO, CA 95691


                    WORLDWIDE DIESEL POWER INC.
                    732 PARKER ST
                    JACKSONVILLE, FL 32202


                    XPOLOGISTICS
                    PO BOX 5160
                    PORTLAND, OR 97208


                    ZORO TOOLS
                    909 ASBURY DRIVE
                    BUFFALO GROVE, IL 60089




Case 18-41350-BDL   Doc 1   Filed 04/17/18   Ent. 04/17/18 16:20:19   Pg. 110 of 111
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      San Francisco Ship Repair, Inc.                                                               Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for San Francisco Ship Repair, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Puglia Engineering Inc.
 201 Harris Ave
 Bellingham, WA 98225




    None [Check if applicable]




 April 17, 2018                                                        /s/ Steven J Reilly WSBA
 Date                                                                  Steven J Reilly WSBA #44306
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for San Francisco Ship Repair, Inc.
                                                                       The Tracy Law Group PLLC
                                                                       720 Olive Way #1000
                                                                       Seattle, WA 98101
                                                                       206-624-9894 Fax:206-624-8598




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



            Case 18-41350-BDL                         Doc 1           Filed 04/17/18     Ent. 04/17/18 16:20:19      Pg. 111 of 111
